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                               EUROPEAN COMMISSION




                                                                 Brussels. 19 July 2018
                                                                sj.c(20l8) 4304806

                   TO THE PRESIDENT AND MEMBERS OF THE
                            AD HOC COMMITTEE


                  Prof. Ricardo RAMIREZ HERNANDEZ, President
                           Judge Dominique HASCHER, Member

                               Makhdoom Ali KHAN, Member




        APPLICATION FOR LEAVE TO INTERVENE AS A NON­
                      DISPUTING PARTY



submitted by the European Commission, represented by Steven NOE,
Petra NEMECKOVA and Tim MAXI AN RUSCHE, members of its Legal
Service, as agents, Rue de la Loi 200, B-1049 Brussels, who consent to
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            In ICSID Case No. ARB/13/36 - Annulment Proceeding

                                        EISER
                         (Respondents on Annulment) (Claimant)

                                                     V.


                                KINGDOM OF SPAIN
                         (Applicant on Annulment) (Respondent)




Commission européenne/Europese Commissie, 1049 Bruxelles/Brussel, BELGIQUE/BELGIË - Tel. +32 22991111
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1.    Introduction

1.    According to the case register of ICSID Secretariat, available on its web site, an
      annulment procedure has been lodged by the Kingdom of Spain against the award
      rendered 4 May 2017 in ICSID Case No. ARB/13/36 (Eiser v Kingdom of Spain)
      ("the Award”), which is currently pending before your Ad Hoc Committee pursuant
      to Article 52 of the ICSID Convention and Rule 50 of the ICSID Rules of Procedure
      for Arbitration Proceedings ("ICSID Arbitration Rules").

2.    The European Commission ("Commission'') has sought leave to intervene as a non­
      disputing party in the proceedings before the Arbitral Tribunal leading to the Award.
      However, by Procedural Order Nr. 7, the Arbitral Tribunal requested "[a]s a
      condition for filing a non-disputing party submission and prior to any consideration
      ofthat submission by the Tribunal [...that] the Commission shall provide a written
      undertaking, satisfactory to the Tribunal, to pay the additional costs of legal
      representation reasonably incurred by the parties in responding to that submission',
      in a reasoned request to alter Procedural Order Nr. 7, the Commission set out that
      such a condition lacked any legal foundation in either Arbitration Rules or Arbitral
      Precedent. The Arbitral Tribunal, however, refused to alter Procedural Order Nr. 7.
      The Commission was not in a position to accept such a condition, as it would
      otherwise have violated its obligations under the European Union ("EU’' or
      "Union") rules for executing the Union budget. Hence, it refused to provide the
      commitment. As a result, the Arbitral Tribunal disregarded the amicus curiae brief
      that had been filed by the Commission.1

3.    The Commission has decided to request leave to intervene as a non-disputing party
      in the present Annulment Proceedings pending before your Ad Hoc Committee. The
      Director-General of the Legal Service has appointed the undersigning agents to
      represent the Commission (the Authority is enclosed as Annex 1 ). As regards its
      treatment of confidential information, the Commission intends to underline that,
      pursuant to Article 339 of the Treaty on the Functioning of the European Union
      ("TFEU"), the members of the institution, its officials and other servants are subject




     The Commission refrains from producing those orders at this stage, but is at the disposal of the Ad Hoc
     Committee for providing them, should they be needed to assess the Commission's request.

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     to a strict requirement not to disclose any information that they may acquire in the
     course of their duties.


2.   Legal basis for the European Commission's intervention as a non-
     disputing party

4.   According to Rule 53 of the ICSID Arbitration Rules. Rule 37(2) of the ICSID
     Arbitration Rules applies mutatis mutandis to Annulment Proceedings. Your Ad Hoc
     Committee may therefore, after consulting both parties, allow a non-disputing party
     to file a written submission with the Tribunal regarding a matter within the scope of
     the dispute. When applying for leave to intervene as a non-disputing party, the non­
     disputing party shall set out the extent to winch:

       “(a) its submission would assist the Tribunal in the determination of a factual or
       legal issue related to the proceeding by bringing a perspective, particular
       knowledge or insight that is different from that of the disputing parties;

       (b) its submission would address a matter within the scope of the dispute;

       (c) the non-disputing party has a significant interest in the proceeding."

5.   Neither the Applicant on Annulment nor the Respondent on Annulment have
     provided the Commission with precise information on the arguments raised by the
     parties in their written submissions to the Ad Hoc Committee. Therefore, the
     Commission will set out in section 3 below in general terms, on the basis of the
     grounds for annulment that the Kingdom of Spain could invoke pursuant to Article
     52 of the ICSID Convention, why it considers that it would assist the Ad Hoc
     Committee in the determination of a factual or legal issue related to the proceeding
     by bringing a perspective, particular knowledge or insight that is different from that
     of the disputing parties. That section shows why the conditions set out in Rule
     37(2)(a) and (b) of the ICSID Arbitration Rules are met.

6.   In section 4 below, the Commission will set out why it has a significant interest in
     the proceeding, showing that the conditions set out in Rule 37(2)(c) of the ICSID
     Arbitration Rules are met.

7.   In section 5 below, the Commission will set out why it considers that the Ad Hoc
     Committee, if asked to do so by the Kingdom of Spain, would be obliged to suspend
     enforcement of the award pursuant to Article 54 of the ICSID Arbitration Rules.


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       without asking the Kingdom ot Spain tor security, as has become practice of Ad Hoc
       Committees in recent years.

8.     Should the Ad Hoc Committee deem it useful, the Commission is willing and
       prepared to participate in any hearing scheduled to take place in the current
       proceedings.

9.     In addition, the Commission points out that Article 29(2) of Council Regulation
       (EU) 2015/1589 of 13 July 2015 laying down detailed rules for the application of
       Article 108 of the Treaty on the Functioning of the European Union2 provides:

          “Where the coherent application of Article 107(1) or Article 108 of the TFEU so
          requires, the Commission, acting on its own initiative, may submit written
          observations to the courts of the Member States that are responsible for applying
          the State aid rules.

          It may, with the permission of the court in question, also make oral observations.

         For the exclusive purpose of preparing its observations, the Commission may
         request the relevant court of the Member State to transmit documents at the
         disposal of the court, necessary for the Commission’s assessment of the matter.”

10. That provision is directly applicable in all the Member States of the Union and is
      therefore part of the domestic legal orders of Grand Duchy of Luxembourg and the
      United Kingdom of Great Britain and Northern Ireland. At the same time, that
      provision is Union law, which constitutes international law applicable between the
      parties.3 Based on Article 26(6) of the Energy Charter Treaty, that provision forms
      hence part of the applicable law for the proceedings pending before the Ad Hoc
      Committee.4 Neither an Arbitration Tribunal, nor an Ad Floe Committee are a court
      of a Member State. Nevertheless, to the extent that they are bound to apply Union
      law, the Commission considers that this provision provides further support for the


2    OJ L 248, 24.9.2015, p. 9. The text is available under                          hitpC'eur-lex.europa.eu/legal-
     content'HN/TXT/‘?uri=uriserv:OJ.L .2015.248.01.0009.01.F.NG .

2    See, Court of Justice of the European Union, judgment in Achmea, Case C-284/16, EU:C:2018:158,
     paragraph 41 : ”Given the nature and characteristics of EU law [■■■], that law must be regarded both as
     forming part of the law in force in every Member State and as deriving from an international
     agreement between the Member States." See also Court of Justice of the European Union, judgment in
      Van Gend and Loos, Case 26/62, EU:C:1963:1, p. 12: “[...l the Community constitutes a new legal
     order of international law"

4    ICSID Case No. ARB/07/19. Electrabe! v Hungary. Award of 30 November 2012. paragraphs 4.119 to 4.126.
     This finding has not been disputed by subsequent tribunals. The Commission will therefore refrain from arguing
     that point in depth here. Should Your Tribunal have any doubt on it, the Commission is at its disposal to further
     expand on that question.

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     admission of the Commission as non-disputing party, to the extent that the
     Commission seeks to address points of EU State aid law.

11. In any event, the Commission considers that that provision recognises the
     Commission's significant interest in cases where EU State aid rules might be
     discussed and provides further support for the present request.


3.   Scope of the Commission's intervention

12. Pursuant to Article 52 of the ICSID Convention, annulment of an award may be
     sought for one or more of the following grounds:

        (a) the Tribunal was not properly constituted;

       (b) the Tribunal has manifestly exceeded its powers;

       (c) there was corruption on the part of a member of the Tribunal;

       (d) there has been a serious departure from a fundamental rule of procedure; or

       (e) the award has failed to state the reasons on which it is based.

13. The Commission considers that by rendering the Award, the Arbitration Tribunal
     has manifestly exceeded its powers and seriously departed from a fundamental rule
     of procedure, for the following reasons.

     3.1.   The Arbitral Tribunal manifestly exceeded its powers with regard to
            jurisdiction, because it lacked jurisdiction to hear the case, and failed to
            state reasons in so far as the violation of Article 267 TFEU and the
            general principle of autonomy of Union law is concerned

14. The Tribunal has based its jurisdiction on Article 26 of the Energy Charter Treaty,
     which it considered gave it jurisdiction pursuant to Article 25 of the ICSID
     Convention.

15. The dispute before your Ad Hoc Committee has the particularity that it is an intra-
     EU dispute between investors from EU Member States, namely the Grand Duchy of
     Luxembourg and the United Kingdom of Great Britain and Northern Ireland, against
     another EU Member State, the Kingdom of Spain (“Spain").




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    16. The Energy Charter Treaty is an international treaty, to which the Union is a
         Contracting Party and which therefore is part of Union law5 and which covers a field
         that is regulated by Union law. Regulation by Union law takes two different forms.
         First, the measures contested by the Claimants before the Tribunal reflect into
         Spanish law one of the options offered under Directive on Renewable Energy to
         comply with the obligation to achieve a national renewable energy target imposed
         upon Spain by such Directive. Second, the measures contested by the Claimant
        constitute State aid in the sense of Article 107(1) TFEU. This arises from
         Commission Decision SA.40348 of 10 November 2017.6

    17. As such, and while the starting point of your analysis, in accordance with Article
        26(6) ECT, is one of international law7, it is also one of European Union law, which
        forms part of the public international law order for the purposes of this proceeding.8

    18. The Tribunal has interpreted Article 26 of the Energy Charter Treaty as an investor-
        State arbitration clause in an international agreement concluded between Member
        States.

19. The Court of Justice of the European Union, in its judgment in Achmea, held that
        "Articles 267 and 344 [... of the Treaty on Functioning of European Union] must be
        interpreted as precludine a provision in an international agreement concluded
        between Member States [...] under which an investor from one of those Member
        States may, in the event of a dispute concerning investments in the other Member


5      98/181/EC, ECSC, Euratom: Council and Commission Decision of 23 September 1997 on the
       conclusion, by the European Communities, of the Energy Charter Treaty and the Energy Charter
       Protocol on energy efficiency and related environmental aspects, OJ L 69, 9.3.1998, p. 1.

6      Commission Decision SA.40348 of 10 November 2017, summary published in the Official Journal of
       the European Union, OJ C 442, 22.12.2017, p. 1 (accessible on-line via the EUR-Lex website; see
       http : -Ve ur- lex .eiiropa.eu/homepage.html?localc-cn). whereas the full text was published at
       h í í pCęęeuropa, eu/comget UoűMThL. a i d/ç^s/258770/258770_J945237_333_Tpdl·

7      ICSID Case No. ARB/03/16 ADC Affiliate Ltd. v Republic of Hungary, award of 2 October 2006, at
       paragraph 290; ICSID Case No. ARB/01/7, MTD Equity Sdn Bhd v. Republic of Chile, award of 25
       May 2004, at paragraph 86; and ICSID Case No. ARB/01/12 Azurix Corp. v. Argentine Republic,
       award of 14 July 14 2006, at paragraph 67; see also for further references Antonio Parra, "Applicable
       Law in Investor-State Arbitration", in: Michael Rovine (ed.), Contemporary Issues in International
       Arbitration and Mediation: The Fordham Papers, Martinus Nijhoff Publishers, 2008 p. 3, at pp. 7-8.

8      ICSID Case No. ARB/07/19, Electrabel S.A. v Republic of Hungary decision on jurisdiction of 30
       November 2012, paragraphs 4.122, 4.189, and 4.195; and ICSID Case No. ARB/14/3, Blusun S.A.,
       Jean-Pierre Lecorcier and Michael Stein v Italian Republic, award of 27 December 2016, paragraph
       278. See also judgment of the Court of Justice of 6 March 2018, Case C-284/16 Achmea,
       ECTI:EU:C:2018:158, paragraph 33.

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         State, bring proceedings against the latter Member State before an arbitral tribunal
         whose jurisdiction that Member State has undertaken to accept" (emphasis added by
         the Commission).

    20. The Court of Justice of the European Union has hence confirmed the view' taken by
         the Commission in its amicus curiae submission before the Tribunal.

    21. As the Commission has also detailed in its amicus curiae submission, and as has
         been recognized by a number of Arbitral Tribunals, starting from the Tribunal in
         Electrabel v Hungary, Union law takes precedence over the Energy Charter Treaty-
         in case of conflict, at the very least in intra-EU situations, such as the present case.4

    22. According to that arbitral precedence, there are two steps for integrating Union law
         into the analysis. First, an intra-EU Arbitration Tribunal based on Article 26 of the
         Energy Charter Treaty needs to take Union law into consideration when interpreting
        the extent of the offer for arbitration in Article 26 ECT. In the view of the
        Commission, based on the principle of interpretation in conformity, enshrined
        both in Article 31(1) letter c of the Vienna Convention on the Law of the Treaties
        (“VCLT”) and in Union law, the Tribunal should have interpreted that Article as not
        containing an offer for arbitration by Spain to investors from other Member States,
        but as being directed only to investors from third countries.

23. Second, even if the Tribunal should have reached a different conclusion than the
        Commission, namely that such an interpretation in conformity is excluded, because
        it would be contra legem, the Tribunal would have been faced with a conflict
        between Article 26 of the Energy Charter Treaty and the general principles of Union
        law of autonomy, Article 19 TEU, and Articles 267 and 344 TFEU. This conflict
        would have to be decided in favour of Union law.

24. The Tribunal, however, has ignored the problem it was confronted with, by stating,
        at paragraph 199 of the Award:

           “However, the Tribunal need not address the possible consequences that might
           arise in case of a conflict between its role under the ECT and the European legal
           order, because no such conflict has been shown to exist.”



4      ICSID Case No. ARB/07/19, Electrabel v Hungary, Award of 30 November 2012, paragraphs 4.178 to
       4.191.

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25. The subsequent paragraphs show a very superficial examination of the arguments
       put forward by the Kingdom of Spain, in particular of Article 344 TFEU. They fail
       completely to address the violation of Article 267 TFEU and the general principle of
      autonomy of Union law, which are fundamental, as shown by the Court of Justice of
      the European Union in Achmea and the amicus curiae submission of the
      Commission.

26. Therefore, the Commission considers that the Tribunal should have declined
      jurisdiction in the present case. By not doing so, and in particular not addressing at
      all the most problematic aspects of intra-EU investor-State arbitration under the
      Energy Charter Treaty, it has manifestly exceeded its powers and failed to state
      reasons.

      3.2.   The Tribunal has manifestly exceeded its powers with regard to the
             applicable law, because it failed to apply Union law on State aid, and in
             particular the standing case-law of the Court of Justice of the European
             Union on the (exclusion of) legitimate expectations in case of unlawful
             State aid

27. The Tribunal finds in paragraphs 322 to 325 of the Award that "the Tribunal will
      decide the issues on the basis of the terms of the ECT and the applicable rules and
      principles of international law". According to consistent arbitral precedent, in intra-
      EU disputes, Union law' is part of the applicable law' as "applicable rules and
     principles of international law”}0

28. The Commission, in its amicus curiae submission, had drawn the attention of the
      Tribunal to the fact that the Spanish support scheme at stake in the arbitration
      proceedings constitutes State aid pursuant to Article 107(1) TFEU, and that it had
      not been authorised by the Commission pursuant to Article 108(3) TFEU. As a
      result, under Union law, any legitimate expectations of the claimants were
      precluded, in line with long-standing case-law of the Court of Justice, which has
      held that, save in exceptional circumstances, undertakings to which an aid has been
      granted may not, in principle, entertain a legitimate expectation that the aid is lawful
      unless it has been granted in compliance with the procedure laid down in the
      Treaties.10
               11


10   Ibidem, paragraphs 4.111 to 4.199. Confirmed many times since in subsequent awards.

11   Case C-5/89 Commission v Germany ECL1:EU:C: 1990:320, paragraph 14.

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29. The Tribunal does not discuss those questions at all. Hence, it has manifestly
       exceeded its powers, by not applying a provision of international law that was part
       of the law to be applied by it. At the same time, it fails to state reasons.

30. In any event, legitimate expectations must be reasonable in light of the law
       applicable to the investment. In light of the consistent case-law of the Court of
       Justice of the European Union this means that it w ould be unreasonable to consider
       that there is a legitimate expectation that aid be granted. A diligent economic
       operator must be assumed to be able to determine whether that procedure has been
       followed.12

31. The Tribunal not only failed to discuss those State aid obligations under Union law
       as a matter of law, but also and in the alternative as part of the relevant facts.

32. The fact that the Arbitration Tribunal has failed to address that point in its Award
      constitutes both a violation of Article 52 (b) ICSID Convention and Article 52 (e)
       ICSID Convention.

      3.3.   The Tribunal has seriously departed from a fundamental rule of
             procedure by requiring a commitment from the Commission to pay costs,
             and, as a result, refusing the Commission’s amicus curiae submission

33. The Award is the first in a series of arbitration proceedings where Arbitration
      Tribunals have sought to curtail the procedural rights of the Commission by
      imposing, as a precondition for admitting the Commission as non-disputing party or
      amicus curiae, an open-ended commitment to bear the costs of the other parties
      related to that intervention.

34. As the Commission has explained in great detail in its request to alter Procedural
      Order Nr. 7, there is no legal basis in the ICSID arbitration rules for requiring such a
      commitment. It also goes against the rules applicable in national legal systems and
      for international courts and tribunals. Those are all based on the philosophy that the
      amicus curiae pays its own costs, but not the costs of the parties, because it serves
      the Tribunal, by bringing a different angle and outside expertise to the proceedings.




12   Case C-5/89 Commission v Germany ECLI:EU:C: 1990:320, paragraph 14.

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35. The Tribunal has never provided a reasoned justification for a divergent view, but
               has simply ignored the arguments put forward by the Commission, which are
               grounded in consistent national and international case-law and rules of procedure.

36. The view taken by the Tribunal also constitutes disservice to investor-State
               arbitration and its perceived lack of openness. Indeed, requiring amicus curiae to
               provide for open-ended cost commitments will have a chilling effect on the
               participation of international organisations and non-governmental organisations in
               investor-State arbitration proceedings.

37. The fact that the Arbitration Tribunal has requested the commitment to pay costs,
           disregarded the amicus curiae submission of the Commission on that basis, and not
           provided any reasons for not following the view' described by the Commission in its
           request to alter procedural order No. 7 constitutes both a violation of Article 52 (d)
           ICSID Convention and Article 52 (e) ICSID Convention.

38. Finally, that procedural irregularity has also had an impact on substance, as it
           prevented the Commission from setting out its view on the matter of jurisdiction and
          Union State aid law to the Tribunal. That in turn could have prevented the errors
          identified in sections 3.1 and 3.2 above.


4.       Particular interest of the Commission in the present proceedings

39. The Commission has a central role in the interpretation and application of rules
          relating to investment protection within the Union in its role as guardian ot the
          Treaties. Moreover, the Commission has a central role in the application of the
          system of control of State aid established in Articles 107 and 108 TFEU: it is
          entrusted with the task to keep under constant review systems of aid existing in
          Member States, and it has the exclusive competence for approving new aid that
          Member States intend to grant to undertakings. For the reasons set out above in
          section 3, Union law on State aid plays a decisive role in the annulment
          proceedings.

40. As a result of the Award and its manifest violation of Union law', the Commission
          had to include in its Commission Decision SA.40348 ot 10 November 201713 clear

15   Commission Decision SA.40348 of 10 November 2017, summary published in the Official Journal of
     the European Union, OJ C 442, 22.12.2017, p. 1 (accessible on-line via the EUR-Lex website; see
     httn; 'eur-lex.europa.eu/homepaue.htmClpcale en), whereas the full text was published at
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       language that Arbitration Tribunals, such as the Eiser Tribunal, lack competence to
       hear cases brought by HU investors, and that in any event, the measures taken by the
       Kingdom of Spain cannot violate the fair and equitable treatment standard.

41. That decision is part of Union law, and hence also part of the law applicable to the
      proceedings before this Ad Hoc Committee and as such binding upon the Ad Hoc
       Committee. In order to avoid further open conflict between investment arbitration
       and Union law, the Commission would appreciate the opportunity to set out in detail
       its reasoning before the Ad Hoc Committee, so as to enable your Ad Hoc Committee
       to assess the Award contested before it in the light of all relevant legal arguments.

42. Furthermore, the Commission acts as the guardian of the Treaties and has the power
      to initiate infringement procedures pursuant to Articles 108, 258 and 260 TFEU
      against Member States that fail to comply with their obligations. That includes
      national judges that may have to hear cases on recognition and enforcement of the
      Award.


5.    The Ad Hoc Committee is obliged to suspend enforcement of the award
      pursuant to Article 54 of the ICSID Arbitration Rules

43. The Commission would like to bring the following part of the Commission Decision
      SA.40348 of 10 November 2017*14 to the attention of the Arbitration Tribunal:

         “The Commission recalls that any compensation which an Arbitration Tribunal
         were to grant to an investor on the basis that Spain has modified the premium
         economic scheme by the notified scheme would constitute in and of itself State
         aid. However, the Arbitration Tribunals are not competent to authorise the
         granting of State aid. That is an exclusive competence of the Commission, if they
         award compensation, such as in Eiser v Spain, or were to do so in the future, this
         compensation would be notifiable State aid pursuant to Article 108(3) TFEU and
         be subject to the standstill obligation.’'

44. This finding is binding on the Ad Hoc Committee, because it forms part of Union
      law, and hence of the law applicable by the Ad Hoc Committee. Furthermore, it has
      not been challenged by Eiser in the Union Courts, and hence has become definitive.




     http://ec.europa.cu/competition/statc aid’eascs'258770/258770 1943237 _333_2.pdf. recitals 159 to
     164.

14   Commission Decision SA.40348 of 10 November 2017, summary published in the Official Journal of
     the European Union, OJ C 442, 22.12.2017, p. 1 (accessible on-line via the EUR-Lex website: see
     http://cur-lex.curopa.cu/homepagc.liliTil7locale-cn). whereas the full text was published at
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45. Prior to paying the Award, Spain hence has to comply with its obligation following
       from Commission Decision SA.40348, and has to notify the Award to the
       Commission, so that the Commission can assess the compatibility, or lack thereof,
      of the State aid granted by the Award with the internal market, pursuant to Article
       107(3) TFEU.

46. Article 108(3) TFEU provides (emphasis added by the Commission):

         "The Commission shall be informed, in sufficient time to enable it to submit its
         comments, of any plans to grant or alter aid. If it considers that any such plan is
         not compatible with the internal market having regard to Article 107, it shall
         without delay initiate the procedure provided for in paragraph 2. The Member
         State concerned shall not put its proposed measures into effect until this
         procedure has resulted in a final decision/'

47. Again, Article 108(3) TFEU forms part of Union law, and hence part of the law-
      applicable to the dispute before the Ad Hoc Committee, and is binding on the Ad
      Hoc Committee and both parties to the dispute before the Ad Hoc Committee. It puts
      an obligation under EU law on Spain not to pay the award (or take any preparatory-
      steps, such as providing a guarantee that is automatically handed over to Eiser in
      case Spain loses the case before the Ad Hoc Committee) until the Commission has
      taken a final decision on the compatibility, or lack thereof, of payment of the Award
      by Spain.

48. The legal effect of Article 108(3) TFEU is hence that the Kingdom of Spain may not
      pay the award.’3 That is an obligation not only under Union law, but also under
      international law applicable between the parties.

49. Asa result, if Eiser was to seek to enforce the Award, it would act in violation oí its
      obligations under international law (as it currently does before the United States
      Courts), and if your Ad Hoc Committee was to refuse to grant an unconditional stay
      on enforcement of the Award, it would equally violated its obligations under
      international law.



     ht(p:,-Vec.curopa.eu/competition/state aid-cases/238770/258770 1945237 333 2.pdf, recitals 159 to
     164.

15   See also Commission Decision (EU) 2015/1470 of 30 March 2015 on State aid SA.38517 (2014/C) (ex
     2014/NN) implemented by Romania — Arbitral award Micula v Romania of 11 December 2013
     (notified under document C(2015) 2112) (Only the Romanian text is authentic) (Text with EE A
     relevance), OJ L 232, 4.9.2015, p. 43-70.

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6.   Form of order sought

50. For the reasons set out above, the Commission respectfully requests the Ad Hoc
     Committee to:

     i) grant the Commission leave to intervene in the present proceedings:

     ii) set a deadline for the Commission to file a written amicus curiae submission on
     the two points of law mentioned above;

     iii) allow the Commission access to the documents filed in the case, to the extent
     necessary for its intervention in the proceedings;

     iv) allow the Commission to attend hearings in order to present oral argument and
     reply to questions of the Ad Hoc Committee at those hearings, should the Ad Hoc
     Committee and the parties deem that useful.


                                                                   r


     Steven NOË              Petra NEMECKO VA              Tim MAXIAN RÜSCHE

                                Agents of the Commission




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INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES




      Eiser Infrastructure Limited and Energía Solar Luxembourg S.à r.l.
                           Respondent on Annulment

                                      v.

                             Kingdom of Spain
                           Applicant on Annulment


            (ICSID Case No. ARB/13/36) – Annulment Proceeding


                       PROCEDURAL ORDER No. 3


                          Members of the Committee
           Mr. Ricardo Ramírez Hernández, President of the Committee
               Mr. Makhdoom Ali Khan, Member of the Committee
              Judge Dominique Hascher, Member of the Committee

                          Secretary of the Committee
                           Mr. Paul Jean Le Cannu




                               October 11, 2018
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I.    PROCEDURAL HISTORY

 1. On July 19, 2018, the ICSID Secretariat received an Application for leave to intervene as a
    non-disputing party by the European Commission (the “Application for leave”). In its
    Application for leave, the European Commission (the “Commission” or “EC”) requested the
    ad hoc Committee to: i) grant the Commission leave to intervene in the proceedings, ii) set a
    deadline for the Commission to file a written amicus curiae submission on two points of law,
    iii) allow the Commission access to the documents filed in the case, to the extent necessary for
    its intervention in the proceedings, and iv) allow the Commission to attend hearings in order
    to present oral arguments and reply to questions of the ad hoc Committee at those hearings,
    should the ad hoc Committee and the Parties deem that useful. 1

 2. The Commission based its request on Rule 53 and Rule 37(2) of the ICSID Arbitration Rules.
    In addition, the Commission pointed out that Article 29(2) of Council Regulation (EU)
    2015/1589 of July 13, 2015 forms “part of the applicable law for the proceedings pending
    before the [ad hoc] Committee”, 2 it recognizes its significant interest and provides further
    support for its request. 3

  3. Regarding the scope of its intervention, it considers that the Tribunal manifestly exceeded its
     powers and seriously departed from a fundamental rule of procedure for three reasons: i)
     because it lacked jurisdiction to hear the case and failed to state reasons, ii) because it failed to
     apply European Union (“EU”) law on State aid, and in particular the standing case-law of the
     Court of Justice of the European Union on the (exclusion of) legitimate expectations in case of
     unlawful State aid, and iii) the Tribunal has seriously departed from a fundamental rule of
     procedure by requiring a commitment from the Commission to pay costs, and, as a result,
     refusing the Commission’s amicus curiae submission. 4

  4. As to its first argument, the Commission contends that by not declining jurisdiction and not
     addressing at all the most problematic aspects of intra-EU investor-State arbitration under the
     Energy Charter Treaty, the Tribunal manifestly exceeded its powers and failed to state
     reasons. 5 Regarding its second argument, the Commission contends that under EU law any
     legitimate expectations of the Claimants were precluded. 6 Therefore, the fact that the Tribunal
     did not discuss State aid obligations under EU law as a matter of law or as part of the relevant
     facts, constitutes both a violation of Article 52(b) ICSID Convention and Article 52(e) ICSID
     Convention. 7 Concerning its third argument, the Commission states there is no legal basis in
     the ICSID Arbitration Rules for requiring a commitment to bear the costs of the other parties
     as a precondition. Thus, requiring such commitment, disregarding its amicus curiae

  1
    Application for leave, para. 50.
  2
    Application for leave, para. 10.
  3
    Application for leave, paras. 4, 9, 10.
  4
    Application for leave, paras. 13-38.
  5
    Application for leave, para. 26.
  6
    Application for leave, paras. 27, 28.
  7
    Application for leave, para. 32.

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      submission on that basis, and not providing any reasons for following a divergent view,
      constitutes a violation of Article 52(d) ICSID Convention and Article 52(e) ICSID
      Convention. 8 The Commission alleges a particular interest in the present proceedings since it
      “has a central role in the interpretation and application of rules relating to investment protection
      within the Union […]” as well as a “central role in the application of the system of control of
      State aid [...].”9

  5. Finally, it argues that Spain is under an obligation “not to pay the award” 10 until the
     Commission has taken a final decision on the compatibility of such payment and considers that
     if the Committee “was to refuse to grant an unconditional stay on enforcement of the Award,
     it would equally violate[] its obligations under international law.” 11

  6. On July 24, 2018, the Secretary of the ad hoc Committee invited the Parties to submit
     observations on the Application for leave.

  7. On August 7, 2018, the Kingdom of Spain (“Spain” or the “Applicant”) submitted
     observations on the Application for leave (the “Applicant’s observations”). On that same
     date, Eiser Infrastructure Limited and Energía Solar Luxembourg S.à r.l (“Eiser”, “Eiser
     Parties” or the “Claimants”) provided its observations on the Application for leave (the
     “Claimants’ observations”).

II.   POSITION OF THE PARTIES

      A.     The Applicant’s Position

  8. In its observations, Spain alleges that the Committee may allow an entity that is not a party to
     the dispute to file a written submission regarding a matter with the scope of the dispute
     according to Rule 37 of the ICSID Arbitration Rules, which applies mutatis mutandis to the
     present proceeding. Spain argues that “the European Union’s ‘state aid’ rules apply to any
     measure by a Member State that ‘distorts or threatens to distort competition by favouring
     certain undertakings’ and which may be ‘incompatible with the internal market’ of the
     European Union” 12 and the Commission has already stated that the Eiser Award constitutes
     notifiable “state aid” although it has not yet made a determination as to whether it is
     “incompatible” with the internal market. 13

  9. According to Spain, since the Eiser Parties have disputed Spain’s submissions regarding the
     potential conflict between the Eiser Award and EU law, a submission directly from the
     Commission “would provide the Committee with an authoritative ‘perspective, particular
     knowledge or insight’ other than that of either the Eiser Parties or Spain, which could facilitate


  8
    Application for leave, paras. 33-38.
  9
    Application for leave, para. 39.
  10
     Application for leave, para. 47 (emphasis in original).
  11
     Application for leave, para. 49. See also paras. 43-48.
  12
     Applicant’s observations, p. 2.
  13
     Applicant’s observations, pp. 1, 2.

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     its determination of this issue.” 14 Additionally, Spain argues that the rejection of multiple
     requests of the Commission to make an amicus curiae submission is one of the grounds for
     annulment and the Committee will have the benefit of the Commission’s perspective. 15

10. Spain points that there is no risk that the submission would disrupt the proceeding or create
    undue burden or prejudice in terms of Rule 37 of the ICSID Arbitration Rules and, considering
    the timing of the Commission’s Application for leave, “there is ample opportunity for both
    parties to review and present their observations and for the Committee to give the EC’s
    submission due consideration.” 16 Consequently, in Spain’s view, the Commission “should be
    allowed to file an amicus curiae submission” and “be granted access to the parties’ pleadings
    in this proceeding, as well as to attend the hearing to be held in January 2019.” 17

     B.    Eiser’s Position

11. In its observations, Eiser requests the Committee to reject the Commission’s Application for
    leave as procedurally improper and/or because it fails to meet the requirements of ICSID
    Arbitration Rule 37(2). Alternatively, it requests the Committee that: i) the submission be
    limited to the issue of whether the Eiser Tribunal committed an annullable error by requiring
    the Commission to provide a cost undertaking as a condition to making a non-disputing party
    submission; ii) the Commission file its submission within 10 days from the decision of the
    Committee on the Application for leave; iii) the Commission’s submission not exceed five
    pages in length including footnotes; iv) the Commission not be granted access to the documents
    filed in the case; v) the Commission not be granted permission to attend the annulment hearing;
    vi) as a condition for filing its submission and prior to any response being filed by the Parties,
    the Commission shall provide copies of all correspondence (including emails) between it and
    Spain in relation to the Award; vii) as a condition for filing a submission and prior to any
    consideration of that submission by the Committee, the Commission provide a written
    undertaking, satisfactory to the Committee, not to take any steps to undermine the Award or
    prevent Spain from paying the Award in full; and viii) the Parties be allowed to submit their
    observations on the Commission’s non-disputing party submissions within 30 days of the
    Commission’s submission. 18

12. Eiser contends that the Commission fails to cite fully the cumulative criteria that the
    Committee must consider in deciding the Commission’s Application for leave and it fails to
    demonstrate that the criteria are satisfied. In its view, the Application for leave does not attempt
    to demonstrate how the mandatory criteria are satisfied. Also, since the Commission’s
    Application for leave goes to the substance of its position rather than establishing that the
    criteria under Rule 37 are satisfied, it should be disregarded. 19 Eiser identified ICSID


14
   Applicant’s observations, p. 2.
15
   Applicant’s observations, pp. 2-3.
16
   Applicant’s observations, p. 3.
17
   Applicant’s observations, p. 3.
18
   Claimants’ observations, para. 7.1.
19
   Claimants’ observations, paras. 1.5, 1.6, 2.6, 2.7.

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     Arbitration Rule 37 as the only relevant legal standard for the consideration of the Application
     for leave. Therefore, it contends that the Commission’s reliance on secondary EU legislation
     is inapposite and that the Committee is not bound to apply EU law. 20

13. Eiser argues that the Commission’s Application for leave fails under Rule 37(2) because it
    identified two issues that are not in dispute before the Committee. First, “the Eiser Tribunal’s
    alleged failure to ‘decline[] jurisdiction’ by allegedly ignoring ‘the most problematic aspects
    of intra-EU investor-State arbitration under the Energy Charter Treaty.’” 21 Second, “the Eiser
    Tribunal’s alleged ‘fail[ure] to apply Union law on State aid especially, and in particular the
    standing case-law of the Court of Justice of the European Union on the (exclusion of)
    legitimate expectations in case of unlawful State aid.’” 22 However, it claims neither of those
    issues were raised by Spain as grounds for annulment and are not issues in dispute before the
    Committee. Additionally, Eiser contends that the Commission’s submissions on the
    Committee’s “obligation” to stay enforcement of the Eiser v. Spain award are improper and
    that it has no standing to make independent allegations for the annulment of the Award. 23

14. In its observations, Eiser states that the refusal to allow the Commission to intervene without
    providing a cost undertaking is the only issue addressed by the Commission within the scope
    of the dispute, however, the Commission fails to establish that it can offer a perspective that
    the Parties are unable to offer as is required by Rule 37(2), thus it must be rejected. Moreover,
    its views are identical to Spain’s and it has failed to inform the Committee of the fact that it
    has, in other cases, provided the very cost undertaking required by the Eiser Tribunal. 24

15. Eiser continues to argue that the Commission has failed to establish that it has a significant
    interest in the proceeding, the Commission’s argument is “premised on the flawed assumption
    that ‘Union law on State aid plays a decisive role in the annulment proceedings’”, 25 however
    the Committee “has no mandate to apply anything other than the provisions of the ICSID
    Convention and Arbitration Rules.” 26 Moreover, in its view, the Commission is not seeking to
    intervene to assist this Committee by offering a different insight, or perspective on the issues
    in dispute. Instead, the Commission is seeking to act as a party, seeking annulment of the
    Award. 27

16. Granting the Application for leave would in Eiser’s view disrupt the proceedings and unduly
    burden and unfairly prejudice the Eiser Parties. It “would create a new procedural step, with
    the resulting detrimental impact on time and costs.” 28 Eiser considers that the Commission “is
    also seeking to ‘take sides’ by putting forward arguments that would support Spain’s position


20
   Claimants’ observations, paras. 2.2, 2.3.
21
   Claimants’ observations, para. 2.10.
22
   Claimants’ observations, para. 2.11.
23
   Claimants’ observations, paras. 1.7, 2.10-2.13.
24
   Claimants’ observations, paras. 1.8, 2.15, 2.16, 2.20.
25
   Claimants’ observations, para. 2.22.
26
   Claimants’ observations, para. 2.24. See also paras. 2.22-2.25.
27
   Claimants’ observations, paras. 1.9, 3.4.
28
   Claimants’ observations, para. 4.2.

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          in the annulment to the detriment of the Claimants’ case”, 29 therefore, this would result in
          procedural inequality. 30

    17. Eiser indicates that if the Committee is minded to allow the Commission to make a written
        non-disputing party submission, it must impose certain restrictions on the Commission’s
        participation “so that it does not unduly burden the Eiser Parties or the proceedings.” 31 It must
        limit the Commission’s submission to addressing the one issue it has identified that is within
        the scope of the dispute and the Committee should limit the submission to five pages and
        require that it be filed within 10 days of the Committee’s decision. Eiser further requests that
        the Commission’s submission should be made on a conditional basis. First, it should be
        required to provide an undertaking that it will promptly provide the Claimants and the
        Committee with copies of all correspondence (including emails) between it and Spain in
        relation to the Award. Second, the Commission should be required to provide an undertaking
        that it will not seek to prevent Spain from honouring its ICSID Convention obligations to
        satisfy the Award. 32

    18. Finally, Eiser does not consent to the Commission being granted access to the documents filed
        in this Proceeding nor do they consent to the Commission’s attendance at the oral hearing, thus
        in terms Rule 32(2) the Committee must reject the Commission’s requests. Eiser also considers
        the Commission’s submissions on the application to stay the enforcement of the Award should
        be disregarded. 33

III.      THE COMMITTEE’S ANALYSIS

       19. The arbitration procedure concerns the parties involved in a dispute. However, Arbitration
           Rule 37(2) provides a non-disputing party with the possibility to file a written submission:

                  After consulting both parties, the Tribunal may allow a person or entity
                  that is not a party to the dispute (in this Rule called the “non-disputing
                  party”) to file a written submission with the Tribunal regarding a
                  matter within the scope of the dispute. In determining whether to
                  allow such a filing, the Tribunal shall consider, among other things, the
                  extent to which:

                  (a) the non-disputing party submission would assist the Tribunal in the
                  determination of a factual or legal issue related to the proceeding by
                  bringing a perspective, particular knowledge or insight that is
                  different from that of the disputing parties;




    29
       Claimants’ observations, para. 4.3.
    30
       Claimants’ observations, paras. 4.1-4.3.
    31
       Claimants’ observations, para. 1.10.
    32
       Claimants’ observations, paras. 1.10, 1.11, 5.1, 5.2, 5.4, 5.8-5.10.
    33
       Claimants’ observations, paras. 1.12, 5.2, 5.4-5.7.

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            (b) the non-disputing party submission would address a matter within
            the scope of the dispute;

            (c) the non-disputing party has a significant interest in the proceeding.

            The Tribunal shall ensure that the non-disputing party submission does
            not disrupt the proceeding or unduly burden or unfairly prejudice
            either party, and that both parties are given an opportunity to present
            their observations on the non-disputing party submission. (Emphasis
            added.)

20. Furthermore, ICSID Arbitration Rule 53 establishes that “[t]he provisions of these Rules shall
    apply mutatis mutandis to any procedure relating to the interpretation, revision or annulment
    of an award and to the decision of the Tribunal or Committee.” Therefore, we begin our
    analysis with the text of ICSID Arbitration Rule 37(2). The language used in this provision
    makes clear that the decision to allow a non-disputing party to file a written submission is
    discretionary:

            The role of an amicus curiae is to provide assistance to a tribunal that
            it would not otherwise have from the disputing parties before it. A third
            and non-disputing party offers its help to the tribunal about a specific
            matter that is in dispute before the tribunal (from a particular
            perspective, with particular knowledge or with a particular insight that
            is different from that of the disputing parties) and the tribunal “may
            allow” a written submission regarding that specific matter […] The
            tribunal has a margin of appreciation to determine whether a particular
            applicant is able to assist it or not, according to the terms of Art. 37 of
            the Rules. 34

21. The first sentence of paragraph (2) also provides a requirement regarding the submission that
    may be allowed, which is, it must be limited to “a matter within the scope of the dispute.”
    Additionally, it provides for certain elements that the Committee must consider mandatorily in
    its decision-making process. First, the extent to which such submission would assist the
    Committee in the determination of a factual or legal issue related to the proceeding by bringing
    a perspective, particular knowledge or insight that is different from that of the disputing parties.
    Second, the extent to which it would address a matter within the scope of the dispute. Third,
    the extent to which the non-disputing party has a significant interest in the proceeding.

22. The text “shall consider, among other things” in paragraph (2) connotes that these elements do
    not constitute an exhaustive list. This seems to be confirmed by the last paragraph of
    Arbitration Rule 37, according to which the Committee “shall ensure” that such submission


34
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à.r.l. v. Kingdom of
Spain (“RREEF v. Spain”), ICSID Case No. ARB/13/30, Procedural Order No. 7, January 14, 2016, para. 12
(CL-0310) (emphasis added).

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    “does not disrupt the proceeding or unduly burden or unfairly prejudice either party, and that
    both parties are given an opportunity to present their observations.” Both of these elements
    address due process for the parties.

23. The elements set out through subparagraphs a) to c) do not incorporate the disjunctive
    connector “or.” This indicates that those are cumulative elements, all of which must be
    considered by the Committee. We find support for our interpretation in the views expressed by
    the RREEF v. Spain Tribunal regarding the conditions set forth by Arbitration Rule 37(2). We
    note that in RREEF v. Spain, the Tribunal agreed that the Applicant had not attempted to
    demonstrate it met the three cumulative conditions that had to be considered according to Rule
    37(2):

            The Tribunal shares the Claimants’ view that the Applicant “has made
            no attempt at demonstrating that it meets any of the three cumulative
            conditions that the Tribunal must consider according to Rule 37.” The
            Claimants are right. In abstaining from addressing those obligatory
            factors, the European Commission has deprived both the disputing
            parties and the Tribunal of any possibility to discuss them in full
            knowledge. This is a fatal failure on the part of the Applicant that cannot
            be remedied by the Parties or the Tribunal guessing what the Applicant
            might or might not have set out, had it cared to do so. 35

24. Furthermore, the Tribunal was concerned that the application submitted in that case “[did] not
    attempt to address the three conditions set out in Rule 37” observing that: “[t]he European
    Commission has correctly stated the requirement that rests on an applicant under Rule 37(2)
    but then, having stated what it must to, it does not do it.” 36

25. However, as already mentioned, the Committee must also make sure that the submission does
    not disrupt the proceeding or unduly burden or unfairly prejudice either Party. The use of the
    connector “or” indicates the Committee’s obligation to ensure the submission either does not
    disrupt the proceeding or unduly burdens or unfairly prejudices; on the other hand, the word
    “and” indicates the Committee’s obligation to ensure that both parties have an opportunity to
    present their observations. Finally, the Committee notes that this article only provides for the
    opportunity to file a “written submission” and does not envisage other rights. This ad hoc
    Committee notes that, in light of the discretion granted by Arbitration Rule 37(2) and the
    consideration of its terms, the Commission has been allowed to participate as non-disputing
    party in other procedures. 37 In Micula v. Romania, the Committee noted its “authority to permit
    a non-disputing party to file a written submission in the context of the annulment proceeding”


35
   RREEF v. Spain, ICSID Case No. ARB/13/30, Procedural Order No. 2, February 5, 2015, para. 30 (CL-0309)
(emphasis added).
36
   RREEF v. Spain, ICSID Case No. ARB/13/30, Procedural Order No. 2, February 5, 2015, para. 29 (CL-0309).
37
   Electrabel S.A v. Hungary (“Electrabel v. Hungary”), ICSID Case No. ARB/07/19, Award, November 25, 2015,
para. 22 (CL-0275), and Ioan Micula, Viorel Micula and Others v. Romania (“Micula v. Romania”), ICSID Case No.
ARB/05/20, Decision on Annulment, February 26, 2016, para. 61 (CL-0249).

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     and the criteria to be met on: i) the subject matter of the application, ii) the applicant and iii)
     procedural fairness. 38 Moreover, it noted that “due to the limited scope of annulment
     proceedings, a request for leave by a non-disputing party must be dealt with in a more
     restrictive and circumscribed manner.” 39 In that case, the Committee also observed the
     different role of the Commission in the annulment proceeding, which was limited to “its
     knowledge and perspective directly related to the grounds for annulment.” 40

     A.    Whether the Application for leave fulfills the elements of subparagraphs a) to c) of
           ICSID Arbitration Rule 37(2)

26. The Commission addresses three main arguments in support of its Application for leave.
    Particularly, those arguments aim to show “why the conditions set out in Rule 37(2)(a) and (b)
    of the ICSID Arbitration Rules are met.” 41 In a separate section, the Commission addresses its
    interest in the proceedings. 42 The Committee will examine these three arguments and whether
    they meet the elements that must be considered in accordance with Rule 37(2).

27. The first argument is that the Eiser Tribunal manifestly exceeded its powers because it lacked
    jurisdiction to hear the case. The second argument is that the Tribunal manifestly exceeded its
    powers with regard to the applicable law because it failed to apply EU law on State aid. The
    third argument is that the Tribunal has seriously departed from a fundamental rule of procedure
    by requiring a commitment from the Commission to pay costs. 43

28. The first two arguments are based on the grounds of annulment b) and e) of Article 52 of ICSID
    Convention. The Commission states that the Tribunal should have interpreted Article 26 of the
    Energy Charter Treaty as not containing an offer for arbitration; it mentions that the conflict
    between such provision and the general principles of EU law of autonomy and other EU law
    provisions would have to be decided in favor of the latter; it states that by not declining
    jurisdiction and by not applying EU law on State aid, the Tribunal exceeded its powers and
    failed to state reasons. 44

29. The Committee considers that, in strict sense, those issues do not address a matter within the
    scope of the dispute. Whilst Spain’s Application for Annulment mentions as grounds that the
    Tribunal manifestly exceeded its powers and failed to state reasons, the specific arguments
    addressed by the Commission in its Application for leave were not raised by Spain as grounds



38
   “The Committee noted that, in line with Vivendi v. Argentina, three criteria must be met to allow a non-disputing
party to participate in the proceedings: (i) the subject matter of the application must be appropriate; (ii) the applicant
must be suitable to act as amicus curiae; and (iii) procedural fairness must be respected.” Micula v. Romania, para. 62
(CL-0249).
39
   Micula v. Romania, para. 63 (CL-0249).
40
   Id.
41
   Application for leave, para. 5.
42
   Application for leave, paras. 39-42.
43
   Application for leave, paras. 14-38.
44
   Application for leave, paras. 22, 23, 26, 28-32.

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     for annulment. 45 Consequently, the Committee fails to see how those specific arguments would
     assist the Committee in its determination as to the grounds of annulment put forward by Spain
     under Article 52(1)(b) and (c), and address a matter within the scope of the dispute, regardless
     of the fact that the Commission may have a significant interest on those matters.

30. The third argument raised by the Commission is that the Tribunal has seriously departed from
    a fundamental rule of procedure by requiring a commitment from the Commission to pay costs
    and refusing the Commission’s amicus curiae submission. The Committee considers that a
    written submission by the Commission on this issue may assist in the determination of a factual
    or legal issue related to the proceeding, as provided in subparagraph a), since it would address
    a ground of annulment raised by Spain. In its Application for Annulment, Spain argues that:

             The Tribunal had required, as a condition of submission, that the EC
             provide an undertaking to reimburse the “additional costs of legal
             representation reasonably incurred by the parties in responding to that
             submission,” which the EC declined. This denied Spain the benefit of
             the EC’s intervention, which would have provided the Tribunal with
             authoritative clarification and confirmation of Spain’s obligations as a
             member State of the European Union in regard to the matters at issue
             in the case. 46

31. In its Application for leave, the Commission asserts that “there is no legal basis in the ICSID
    arbitration rules for requiring such a commitment” and that “[t]he Tribunal has never provided
    a reasoned justification for a divergent view, but has simply ignored the arguments put forward
    by the Commission.” Additionally, it states that “that procedural irregularity has also had an
    impact on substance, as it prevented the Commission from setting out its view on the matter of
    jurisdiction and Union State aid law to the Tribunal.” 47

32. While the views of the Commission may concur with the views expressed by Spain, the
    Commission could nonetheless provide a particular insight as an institution of the European
    Union on whether such request and refusal constitute a ground for annulment.

33. For the same reason, this issue would fall as “a matter within the scope of the dispute” as
    provided by subparagraph b).

34. Regarding subparagraph c), the Application for leave indicates that the Commission has a
    significant interest in the proceeding. In its Application for leave, the Commission argues that
    such “irregularity […] prevented the Commission from setting out its view on the matter of
    jurisdiction”, that it has a “central role in the interpretation and application of rules relating to




45
   Application for annulment, paras. 32-40, 41-50.
46
   Application for Annulment, para. 58 (emphasis added).
47
   Application for leave, paras. 34, 35, 38.

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       investment protection” and in the “application of the system of control of State aid.” 48 Overall,
       the Commission considers that:

                In order to avoid further open conflict between investment arbitration
                and Union law, the Commission would appreciate the opportunity to set
                out in detail its reasoning before the [ad hoc] Committee, so as to enable
                your [ad hoc] Committee to assess the Award contested before it in the
                light of all relevant legal arguments. 49

35. The Committee considers that the Commission has indicated a significant interest in this
    procedure. Consequently, it would be appropriate to receive a submission from the
    Commission on whether the Tribunal seriously departed from a fundamental rule of procedure
    by requiring a commitment from the Commission to pay costs and refusing the Commission’s
    amicus curiae submission. The Committee concedes that the Commission’s view on this
    ground of annulment could intertwine with the substantive issues on jurisdiction and EU State
    aid law, which the Commission has indicated it considers were affected as a result of a
    procedural irregularity. Therefore, the Committee considers such issues could be addressed to
    the extent that they relate to its view on whether there has been a serious departure from a
    fundamental rule of procedure.

36. According to Arbitration Rule 37(2), the Committee shall ensure that the non-disputing party
    submission does not disrupt the proceeding or unduly burden or unfairly prejudice either
    party. The Committee is of the view that allowing a written submission by the Commission
    would not disrupt the procedure, or unduly burden or unfairly prejudice either Party. While
    this may involve an additional step in the process, the Eiser Parties’ Rejoinder is due on
    October 29 and the hearing will be held on March 2019. Therefore, the Committee considers
    there is sufficient time for the Commission to submit a written submission and for both parties
    to present their observations without disrupting the procedure or representing an unduly
    burden. In order not to disrupt the filing of the Eiser Parties’ Rejoinder, the Committee
    considers that the appropriate time for the Commission’s submission is November 12, 2018.
    In addition, in the interest of not putting an undue burden on the Parties making comments to
    the submission, the Committee considers a page limit of 30 pages should be set. Finally, since
    the participation of the Commission as non-disputing Party will be limited to only that
    submission, the Committee finds no justification to conditioning its filing to the provision of
    copies of the correspondence between the Commission and Spain in relation to the Eiser
    Award or a written undertaking not to take steps to undermine the award.

37. Regarding the Commission’s request to have access to the documents filed in the case and
    attend the hearings, the Committee finds no legal basis to allow that under the ICSID
    Arbitration Rules agreed by the Parties. Moreover, Rule 37(2) is clear as to the extent of the




48
     Application for leave, paras. 38, 39.
49
     Application for leave, para. 41.

                                                     10
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                                         Procedural Order No. 3

         participation of a non-disputing party, which is limited to filing a written submission. As the
         Tribunal in Philip Morris v. Uruguay observed:

                 Acceptance of a submission shall confer to the petitioner neither the
                 status of a party to the arbitration proceeding nor the right to access the
                 file of the case or to attend hearings. The need to safeguard the integrity
                 of the arbitral process requires in fact that no procedural rights or
                 privileges of any kind be granted to the non-disputing parties. 50

   38. Finally, Rule 32(2) provides that the Tribunal may allow other persons to attend or observe all
       or part of the hearings, unless either party objects. In this case, the Eiser Parties have objected
       to the Commission’s participation in the hearing. Therefore, the Committee rejects the
       Commission’s requests in this regard.

         B.    Whether the ad hoc Committee has an Obligation to Suspend Enforcement of the
               Award

      39. The Commission included in its Application for leave several assertions regarding the stay of
          enforcement. In its Application for leave, the Commission states that “if your [ad hoc]
          Committee was to refuse to grant an unconditional stay on enforcement of the Award, it would
          equally violate[] its obligations under international law.” 51 The Commission presents its view
          that the Committee is “obliged to suspend enforcement of the award” pursuant to Arbitration
          Rule 54. The Committee observes that, within the context of a stay of enforcement, the
          provisions governing an application in that regard confer rights to the Parties. Non-disputing
          parties are not authorized by the ICSID Arbitration Rules to apply for such stay and their
          participation is limited to a matter within the scope of the dispute subject to the requirements
          already addressed. The Committee’s reasoning for refusing to grant the stay is set out in the
          Decision on the Stay of Enforcement of the Award pursuant to Article 52(5) of the ICSID
          Convention issued on March 23, 2018. Therefore, this is a matter in which the Commission’s
          views would not assist the Tribunal and would not need to be further addressed in its
          submission.

IV.      DECISION

   40. In view of the above, the Committee hereby:

         a. Allows the Commission to file a written submission as a non-disputing party, in accordance
            with Arbitration Rule 37(2), on whether the Tribunal seriously departed from a




   50
      Philip Morris Brand Sàrl (Switzerland), Philip Morris Products S.A. (Switzerland) and Abal Hermanos S.A.
   (Uruguay) v. Oriental Republic of Uruguay (“Philip Morris v. Uruguay”), ICSID Case No. ARB/10/7, Procedural
   Order No. 3, February 17, 2015, para. 22 (CL-0285).
   51
      Application for leave, para. 49 (emphasis omitted).

                                                       11
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       fundamental rule of procedure by requiring a commitment from the Commission to pay
       costs and refusing the Commission’s amicus curiae submission;

   b. Decides that the Commission shall file its written submission on Monday, November 12,
      2018; the submission shall be limited to 30 pages;

   c. Rejects the Commission’s request to have access to the documents filed in the case and
      rejects its request to attend the hearing;

   d. Rejects the Eiser Parties’ request to condition the filing of the Commission’s written
      submission to the provision of copies of all correspondence or a written undertaking;

   e. Authorizes both disputing parties to present their views to the Commission’s written
      submission no later than Wednesday, December 12, 2018; and

   f. Decides that this Procedural Order shall be communicated to the Commission for its
      exclusive use in this annulment proceeding.



On behalf of the Committee,




__________________________
Ricardo Ramírez Hernández
President of the Committee




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             HARWOOD EXHIBIT 3
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                             EUROPEAN COMMISSION




                                                               Brussels, 12 November 2018
                                                               sj.c(2018)

                  TO THE PRESIDENT AND MEMBERS OF THE
                           AD HOC COMMITTEE

                 Prof. Ricardo RAMÍREZ HERNÁNDEZ, President

                          Judge Dominique HASCHER, Member

                              Makhdoom Ali KHAN, Member



                                  Secretary of the Committee
                                    Mr. Paul Jean Le Cannu



                                  Amicus Curiae submission


submitted by the European Commission, represented by Steven NOË,
Petra NEMECKOVA and Tim MAXIAN RUSCHE, members of its Legal
Service, as agents, Rue de la Loi 200, B-1049 Brussels, who consent to
service      by      e-mail     via      steven.noe@ec.europa.eu      ,
petra.nemeckova@ec.europa.eu and tim.rusche@ec.europa.eu.

            In ICSID Case No. ARB/13/36 – Annulment Proceeding

                                        EISER
                         (Respondents on Annulment) (Claimant)

                                                    v.

                                KINGDOM OF SPAIN
                         (Applicant on Annulment) (Respondent)




Commission européenne/Europese Commissie, 1049 Bruxelles/Brussel, BELGIQUE/BELGIË - Tel. +32 22991111
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1.    INTRODUCTION

1.    The Commission expresses its gratitude to the Ad Hoc Committee for granting it
      leave to intervene.

2.    As decided by the Ad Hoc Committee in Procedural Order No. 3, this brief is limited
      to setting out arguments “on whether the Tribunal seriously departed from a
      fundamental rule of procedure by requiring a commitment from the Commission to
      pay costs and refusing the Commission’s amicus curiae submission”.1 The
      Commission has also taken note that “[t]he Committee concedes that the
      Commission’s view on this ground of annulment could intertwine with the
      substantive issues on jurisdiction and EU State aid law, which the Commission has
      indicated it considers were affected as a result of a procedural irregularity.
      Therefore, the Committee considers such issues could be addressed to the extent
      that they relate to its view on whether there has been a serious departure from a
      fundamental rule of procedure”.2

3.    The Commission will first set out the relevant facts (2.) and the fundamental rules of
      procedure from which the Arbitral Tribunal has departed (3.). Against that
      background, the Commission will show why the requirement “to pay the additional
      costs of legal representation reasonably incurred by the parties in responding to
      that submission” imposed upon the Commission in Procedural Order No. 7 of the
      Arbitral Tribunal3 and maintained in Procedural Order No. 8 of the Arbitral
      Tribunal,4 despite a reasoned request by the Commission to alter Procedural Order
      No. 7,5 constitutes a serious departure from those fundamental procedural rules (4.).
      In a final step, the Commission will demonstrate that, had the Arbitral Tribunal had
      at its disposal the amicus curiae submission of the Commission, it may have
      reached a different conclusion both on jurisdiction and on merits. This further
      underlines the seriousness of the Arbitral Tribunal’s departure (5.).


1
     See Procedural Order No. 3, paragraphs 35 and 40(a).
2
     Ibid., paragraph 35.
3
     Annex EC-2.
4
     Annex EC-3.
5
     Annex EC-4.
                                                       2
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2.    DESCRIPTION OF THE RELEVANT FACTS6

4.    The Commission had sought leave to intervene as a non-disputing party in the
      proceedings before the Arbitral Tribunal leading to the Award that is contested
      before the Ad Hoc Committee (“contested Award”).7

5.    By Procedural Order Nr. 7,8 the Arbitral Tribunal admitted the Commission as non-
      disputing party. In that Procedural Order, the Arbitral Tribunal decided that the
      Commission fulfilled all conditions set out in ICSID Arbitration Rule 37(2). In
      application of ICSID Arbitration Rule Article 37(2) second sub-paragraph, the
      Arbitral Tribunal set a short deadline of ten days, ending on 31 December (and thus
      including the end of year holidays) for filing an amicus curiae9 brief. Furthermore, it
      limited the length of the submission to 25 pages. These conditions were deemed
      necessary in order not to disrupt the proceedings (which were relatively far
      advanced when the Commission filed its request) and not to unduly burden or
      unfairly prejudice one party.

6.    In addition to those two measures (very short deadline and very limited number of
      pages), the Arbitral Tribunal requested, still on the same legal basis, “[a]s a
      condition for filing a non-disputing party submission and prior to any consideration
      of that submission by the Tribunal […that] the Commission shall provide a written
      undertaking, satisfactory to the Tribunal, to pay the additional costs of legal
      representation reasonably incurred by the parties in responding to that submission”.
      This requirement will be referred to as “contested undertaking on costs”.

7.    In a reasoned request to alter Procedural Order Nr. 7,10 the Commission set out that
      the contested undertaking on costs lacked any legal foundation in either the
      applicable rules (i.e. the Energy Charter Treaty, the ICSID Convention and the
      ICSID Arbitration Rules) or general principles of international law (as expressed in

6
     See also paragraphs 59 to 70 of the contested Award.
7
     The request for leave to intervene is attached as Annex EC-1.
8
     Annex EC-2.
9
     The Commission is aware that the ICSID Arbitration Rules use the term “non-disputing party”, rather
     than amicus curiae. However, the historical development leading to ICSID Arbitration Rule 37 shows
     that that rule is really about amicus curiae. Accordingly, in the practice of arbitral tribunals, both terms
     are used in an interchangeable manner.
10
     Annex EC-4.

                                                           3
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      international or national procedural rules or precedent of international courts and
      arbitral tribunals or national courts). The Arbitral Tribunal, however, refused to alter
      Procedural Order Nr. 7 in Procedural Order No. 8.11 It justified the contested
      undertaking on costs on the basis of the consideration that the Commission’s request
      had been filed only after the parties had completed their exchange of memorials, and
      relatively shortly before the oral hearing.

8.    The Commission was not in a position to accept such a condition, as it would
      otherwise have violated its obligations under the European Union (“EU” or
      “Union”) rules for executing the Union budget, which would not allow it to incur
      expenditures that lack a legal basis and hence are without a valid legal foundation.

9.    Therefore, it refused to provide the commitment.12 As a result, the amicus curiae
      brief that had been filed by the Commission was destroyed, without entering the
      record of the proceedings.


3.    FUNDAMENTAL        RULES OF PROCEDURE FROM WHICH THE            ARBITRAL TRIBUNAL
      HAS DEPARTED

10. The Arbitral Tribunal, in Procedural Order No. 8, identifies as legal basis for the
      contested undertaking on costs ICSID Arbitration Rule 37(2), and more precisely
      the beginning of the second sub-paragraph, which reads: “The Tribunal shall ensure
      that the non-disputing party submission does not disrupt the proceeding or unduly
      burden or unfairly prejudice either party […]”.13

11. ICSID Arbitration Rule 28 stipulates:

         “Rule 28

         Cost of Proceeding

         (1) Without prejudice to the final decision on the payment of the cost of the
         proceeding, the Tribunal may, unless otherwise agreed by the parties, decide:

         (a) at any stage of the proceeding, the portion which each party shall pay,
         pursuant to Administrative and Financial Regulation, of the fees and expenses of
         the Tribunal and the charges for the use of the facilities of the Centre;

11
     Annex EC-3.
12
     Annex EC-5.
13
     Annex EC-4, paragraphs 9 to 14.

                                                    4
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         (b) with respect to any part of the proceeding, that the related costs (as determined
         by the Secretary-General) shall be borne entirely or in a particular share by one of
         the parties.

         (2) Promptly after the closure of the proceeding, each party shall submit to the
         Tribunal a statement of costs reasonably incurred or borne by it in the proceeding
         and the Secretary-General shall submit to the Tribunal an account of all amounts
         paid by each party to the Centre and of all costs incurred by the Centre for the
         proceeding. The Tribunal may, before the award has been rendered, request the
         parties and the Secretary-General to provide additional information concerning
         the cost of the proceeding.”

12. While there is significant authority to suggest that arbitral tribunals have discretion
      in their award for costs under the ICSID Convention, it is clear from the wording of
      Rule 28 that the provision a costs can only be made between the parties to the
      proceedings. An amicus curiae is not a party to the proceedings. The relevant, non-
      contested precedent in this regard are the Orders in Response to Transparency and
      Amicus Curiae Petition in Suez and AWG v Argentina:14

         “An amicus curiae is, as the Latin words indicate, a “friend of the court,” and is
         not a party to the proceeding. Its role in other forums and systems has
         traditionally been that of a nonparty, and the Tribunal believes that an amicus
         curiae in an ICSID proceeding would also be that of a nonparty. The traditional
         role of an amicus curiae in an adversary proceeding is to help the decision maker
         arrive at its decision by providing the decision maker with arguments,
         perspectives, and expertise that the litigating parties may not provide. In short, a
         request to act as amicus curiae is an offer of assistance – an offer that the decision
         maker is free to accept or reject. An amicus curiae is a volunteer, a friend of the
         court, not a party.” (emphasis added)

13. Tribunals constituted under the ICSID Convention have long adopted one of two
      approaches concerning the allocation of costs arising under disputes, namely: 15

         “(1) “Pay your own way”, whereby the parties share the costs of the proceedings
         and bear their own legal costs16; and

         (2) the “costs follow the event” approach, under which the losing party bears the
         costs of the proceedings and the legal costs of the winning party17. Often, this is
         applied pro rata - according to the relative success of the parties. The costs of the

14
     ARB/03/19, Order of 19 May 2005 (Annex EC-6), paragraph 13.
15
     See, in detail, Kateryna Bondar, “Allocation of costs in investor-State and commercial arbitration:
     towards a harmonized approach”, in: 32 Arbitration International (2016), pp. 45-58 (Annex EC-7), on
     pp. 47-53; Christoph Schreuer, The ICSID Convention. A Commentary, Commentary on Article 61
     ICSID Convention (Annex EC-8), paragraphs 15 to 74.
16
     E.g. Nations Energy v. Panama, ARB/06/19, Award of 24 November 2010.

17
     E.g. Spyridon Roussalis v. Romania, ARB/06/1, Award of 7 December 2011.

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         winning party are not automatically shifted to the losing party; rather the tribunal
         will subtract those issues, claims or events on which the winning party is itself the
         loser.”

14. In both those approaches and in line with ICSID Arbitration Rule 28, the costs are
      allocated exclusively between the parties to the dispute, rather than burdening any
      amicus curiae with all or part of these expenses. In fact, the Commission was unable
      to retrieve a single award or decision on costs rendered under the auspices of the
      ICSID Convention and outside the intra-EU arbitration context, where a non-
      disputing party was requested to provide the costs that would arise from its limited,
      single submission intervention.

15. Finally, ICSID Arbitration Rule 47(1)(i) provides that the award shall set out the
      reasons for the decision of the arbitral tribunal on each decision made in the award.
      This includes the obligation to provide reasoning for the allocation of costs.18 A
      decision on costs can also form the object of annulment proceedings.19


4.    THE CONTESTED UNDERTAKING ON COSTS CONSTITUTES A SERIOUS DEPARTURE
      FROM THOSE PROCEDURAL RULES, WHICH ARE FUNDAMENTAL

      4.1.    Introduction

16. In the Commission’s view, the Arbitral Tribunal has seriously departed from a
      fundamental rule of procedure by requiring the contested undertaking on costs, and,
      as a result, refusing the Commission’s amicus curiae submission.

17. There is, however, no legal basis in ICSID Arbitration Rules, or in the ICSID
      Convention or in general principles of international law, for requiring such a
      commitment.

18. The contested undertaking on costs also goes against the rules applicable in national
      legal systems, in particular the common law jurisdictions where the legal institute of
      the amicus curiae has its source, and for international courts and tribunals. Those
      converge on the principle that the amicus curiae pays its own costs, but not the costs
      of the parties related to its intervention, because it serves the Tribunal, by bringing a
      different angle and outside expertise to the proceedings.

18
     Christoph Schreuer, The ICSID Convention. A Commentary, Commentary on Article 61 ICSID
     Convention (Annex EC-8), paragraphs 41 to 45 and 62 to 74.
19
     Ibid., paragraph 71

                                                  6
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19. The Commission will start by providing the necessary background on the role of
      amicus curiae. It is a fundamental principle of investment arbitration that amicus
      curiae interventions are admitted, in particular to enhance transparency and
      legitimacy of investment arbitration, which involves important matters of public
      interest (4.2). The Commission will then show that ICSID Arbitration Rule 37(2) is
      a fundamental rule of procedure, because it governs the amicus curiae in ICSID
      arbitration, and that neither that rule nor any other provision of the ICSID
      Convention or international law confers power upon an arbitration tribunal to make
      the acceptance of the amicus curiae brief conditional upon an undertaking such as
      the contested undertaking on costs (4.3). In that context, the rules applicable in
      national legal systems and for international courts and tribunals are of crucial
      importance, because the institution of amicus curiae has been incorporated into
      investment arbitration from other international courts and tribunals. Those rules
      confirm that the amicus curiae only bears its own costs. That shows, on the one
      hand, the fundamental nature of the rule and the seriousness of the departure from it.
      On the other hand, it also shows that the Arbitral Tribunal could not have found a
      legal basis in the international practice or a generally recognized principle (4.4). The
      Commission will conclude by recalling the considerations of judicial policy that
      militate strongly against the contested undertaking on costs (4.5).

      4.2.    Background on amicus curiae submissions in general and on the
              Commission’s request before the Arbitral Tribunal in particular

              4.2.1.     The institute of the amicus curiae: expertise, public interest and
                         transparency

20. Pursuant to ICSID Arbitration Rule 37(2), an arbitral tribunal may allow a third
      party (or non-disputing party) to file a written submission (or amicus curiae brief)
      regarding a matter within the scope of the dispute.

21. The institution of amicus curiae has for a long time played an important role in
      common law jurisdictions. The role of the amicus has evolved over time.20 Initially,
      the main consideration was the expertise of the amicus. In the words of the Arbitral
      Tribunal in Suez and AWG v Argentina, the amicus “provid[es] the decision maker

20
     See, in detail, Samuel Krislov, “The Amicus Curiae Brief: From Friendship to Advocacy”, in: The
     Yale Law Journal 73 (1963), pp. 694-715 (Annex EC-9); David S. Clark, “Use of the Amicus Curiae
     Brief in American Judicial Procedure in Comparative Perspective”, in: RabelsZ 80 (2016), pp. 327-
     371 (Annex EC-10), the latter also including a description of the use of the institute in other, including
     civil law, jurisdictions.

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      with arguments, perspectives, and expertise that the litigating parties may not
      provide”.21 The institution of amicus curiae allows third parties to participate in
      proceedings by way of offering assistance to the court or tribunal. The amicus
      curiae may provide to the judges or arbitrators additional information or its expert
      scientific or technical knowledge, in particular when the specific issues are outside
      the judges’ or arbitrators’ areas of expertise.

22. Therefore, the amicus curiae can improve the quality of judgments, decisions and
      awards. The objective of amicus curiae briefs is thus that the tribunal and the parties
      benefit from the special knowledge or expertise of the third party and its perspective
      on the issues.

23. The second justification for admitting amicus curiae interventions has been to
      ensure that the decision-maker has full knowledge not only of the interests of the
      disputing parties, but also of the interests of all other entities that are potentially
      concerned, as well as the general, common or public interest.22

24. By definition, the amicus curiae is a “friend of the court”. Its aim is to serve the
      court or tribunal by bringing a different angle and outside expertise to the
      proceedings, and to inform the decision maker about matters that may otherwise not
      come to its attention, or not in the same objective maimer.23

25. The institution of amicus curiae is today widely recognized not only in common law
      jurisdictions, but also in civil law jurisdictions.24 Furthermore, it is a common
      feature before international courts and tribunals.25 Indeed, it would seem that the
      institution was first transplanted from common law to international law, and then

21
     See full quote above at paragraph 12.
22
     See, for a comprehensive analysis of the case-law of arbitration tribunals, in particular the seminal
     decisions in Methanex, UPS and Suez, Alexis Mourre, “Are Amici Curiae the proper reponse to the
     public’s concerns on transparency in investment arbitration”, in: The Law and Practice of
     International Courts and Tribunals 5 (2006), pp. 257-271 (Annex EC-11).
23
     Ibid., p. 269.
24
     Steven Kochevar, “Amici Curiae in Civil Law Jurisdictions”, in: The Yale Law Journal 122 (2013), pp.
     1653-1669 (Annex EC-12); David S. Clark, “Use of the Amicus Curiae Brief in American Judicial
     Procedure in Comparative Perspective”, in: RabelsZ 80 (2016), pp. 327-371 (Annex EC-10).
25
     See for overviews: Lance Bartholomeusz, “The Amicus Curiae before International Courts and
     Tribunals”, in: Non-State Actors and International Law 5 (2005), pp. 209-286 (Annex EC-13); Luigi
     Crema, “Testing Amici Curiae in International Law: Rules and Practice, in: The Italian Yearbook of
     International Law XXII (2012), pp. 91-132 (Annex EC-14).

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      diffused back on the national level in civil law jurisdictions.26 In international law,
      the amicus curiae first appeared in WTO and human rights law, before arbitral
      tribunals, referring explicitly to those precedents, accepted amicus curiae briefs in
      investment arbitration.27

26. Today, amicus curiae briefs “constitute an evolving global procedural norm”.28
      And, as will be shown in detail in section 4.4, one common feature of that evolving
      global procedural norm is that the amicus is, to use the words of the arbitral tribunal
      in Suez and AWG v Argentina, “a volunteer”,29 that is he pays his own expenditure
      (different from an expert, which is paid by the court/the parties), but he is not
      burdened with any other costs. This is intuitive, because, by definition, the amicus
      curiae is a “friend of the court” and cannot be a “friend of the parties” (or one of the
      parties). Its aim is to serve the court or tribunal, not a party.

             4.2.2.     The Commission’s request before the Arbitral Tribunal

27. The benefits of an amicus curiae brief in investment arbitration have been recently
      summarized as follows:30

         “First, [...] amicus curiae participation can promote a general interest in
         procedural openness and ensure that the broader public does not perceive the
         arbitration process as ‘secretive’ [...] There is a public interest in the enhancement
         of procedural legitimacy of investment arbitration by means of greater
         participation. [...]

         [Second], there may in fact be instances where third-party involvement actually
         serves both to improve the legal quality of the award and to assist in the systemic
         development of international investment law as a whole. As to the first point, in
         some cases parties to a proceeding may have a specific vested interest in not
         disclosing all the facts pertinent to the issues in dispute [footnote omitted]. For
         instance, in AES it is possible that neither Hungary nor the investor would have

26
     Steven Kochevar, “Amici Curiae in Civil Law Jurisdictions”, in: The Yale Law Journal 122 (2013), pp.
     1653-1669 (Annex EC-12); Anna Dolidze, “Bridging Comparative and International Law: Amicus
     Curiae Participation as a Vertical Legal Transplant”, in: The European Journal of International Law 26
     (2016), pp. 851-880 (Annex EC-15).
27
     ARB/03/19, Order of 19 May 2005 (Annex EC-6), paragraph 15, at the end.
28
     Steven Kochevar, “Amici Curiae in Civil Law Jurisdictions”, in: The Yale Law Journal 122 (2013), pp.
     1653-1669 (Annex EC-12), p. 1669.
29
     See above paragraph 12.
30
     Eugenia Levine, “Amicus Curiae in International Investment Arbitration: The Implications of an
     Increase in Third-Party Participation”, in: Berkeley Journal of International Law 29 (2011), pp. 200-
     224 (Annex EC-16).

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         an interest in emphasizing the fact that the contracts between them may violate
         the EC’s restrictions on State aid [footnote omitted] The claimant would certainly
         not wish to emphasize that a contract may be based on an illegality, as this may
         impact their ability to claim damages. As for Hungary, the State may consider it
         detrimental to emphasize this issue as its primary defence, since its
         acknowledgement of engaging in State aid may give rise to further actions by the
         Commission within the EU sphere. In this regard, the Commission’s involvement
         could potentially highlight relevant legal issues that may not otherwise have
         prominence.”

28. The example chosen – EU State aid law – is of particular importance also for the
      present case. The particular expertise of the Commission in this field – as well as on
      the interplay between EU law and international law and the question of jurisdiction
      – has been recognized by an important number of tribunals, including those
      established under the Energy Charter Treaty, such as the arbitral tribunal in
      Electrabel v Hungary, which noted:31

         “Albeit with hindsight, it is unfortunate that the European Commission could not
         play a more active role as a non-disputing party in this arbitration, given that […]
         the European Commission has much more than “a significant interest” in these
         arbitration proceedings”.

29. The Commission stresses that it did not seek to intervene in the Arbitral Tribunal in
      support of one of the parties or to vindicate rights of its own, but solely to assist the
      Arbitral Tribunal in deciding a dispute that raises fundamental questions of
      European Union law. Those questions are novel and pertinent. In this regard, and it
      is not only in the Commission’s interest, but first and foremost in the interest of the
      disputing parties, the Arbitral Tribunal, the coherence of international law and the
      sound administration of justice that they are properly considered. A failure to
      consider the implications of European Union law in a context such as the one of the
      present dispute which concerns an investor of an EU Member State against another
      EU Member State, might affect the enforceability of a future award, expose the
      Respondent and the Claimant to procedures before the Commission and the Court of
      Justice of the European Union, and ultimately undermine the trust in and the
      legitimacy of investor-State arbitration.

30. The Arbitral Tribunal has to exercise its discretion in determining whether the
      amicus is trustworthy and whether it is prejudicial to one of the parties in an unfair

31
     Electrabel v Hungary, ICSID Case No. ARB/07/19, Decision on Jurisdiction, Applicable Law and
     Liability of 30 November 2012, part IV, paragraph 4.92, The Commission assumes that this text is
     already before the Ad Hoc Committee. Should you require a copy, the Commission will provide it
     immediately.
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      manner. In the present case, the Arbitral Tribunal had confirmed the trustworthiness
      and the absence of unfair prejudice.

31. This should come as no surprise, given the very peculiar role of the Commission:

32. The Commission has a central role in the interpretation and application of rules
      relating to investment protection within the Union. Those rules include in particular
      the so-called Four Freedoms that characterize the Union’s Single Market,32 but also
      the sector-specific legislation concerning energy, and in particular renewable
      electricity.

33. That central role derives, first, from its task as “guardian of the Treaties”. Pursuant
      to Article 17 of the Treaty on European Union (“TEU”), the Commission is tasked
      with promoting the general interest of the European Union and taking appropriate
      initiatives to that end.. In that context, it has in particular the power to initiate
      infringement procedures pursuant to Articles 108, 258 and 260 of the Treaty on the
      Functioning of the European Union (“TFEU”) against Member States that fail to
      comply with their obligations. That includes national judges that may have to hear
      the cases on recognition and enforcement of the contested Award.

34. Moreover, the Commission has a central role in the application of the system of
      control of State aid established in Articles 107 and 108 TFEU: it is entrusted with
      the task to keep systems of aid existing in Member States under constant review,
      and it has the exclusive competence for approving new aid that Member States
      intend to grant to undertakings. Union law on State aid plays a decisive role in the
      annulment proceedings and in particular the rules on State aid plays a decisive role
      in the annulment proceedings, particularly when the dispute concerns an investors of
      a EU Member State against another EU Member State.

35. The Commission Decision SA.40348 of 10 November 201733 contains clear
      language that arbitration tribunals, such as the Eiser Tribunal, lack competence to


32
     See in detail Communication “Protection of Intra-EU Investment” of 19 July 2018, COM(2018)547
     final, p. 3, Annex EC-17.
33
     Commission Decision SA.40348 of 10 November 2017, summary published in the Official Journal of
     the European Union, OJ C 442, 22.12.2017, p. 1 (accessible on-line via the EUR-Lex website; see
     http://eur-lex.europa.eu/homepage.html?locale=en), whereas the full text was published at
     http://ec.europa.eu/competition/state_aid/cases/258770/258770_1945237_333_2.pdf, recitals 159 to
     164.

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      hear cases brought by EU investors, and that in any event, the measures taken by the
      Kingdom of Spain cannot violate the fair and equitable treatment standard.

36. That decision is part of Union law, and hence also part of the law applicable to the
      proceedings before this Ad Hoc Committee, which concerns an EU investor, and as
      such binding upon the Ad Hoc Committee.34

37. Before the Arbitration Tribunal, and as recognized by the Arbitration Tribunal, the
      Commission did not intervene in support of one of the parties, but rather solely for
      the purpose of assisting the Arbitral Tribunal in deciding the novel questions raised
      by the dispute regarding EU law. More specifically, the Arbitral Tribunal had held
      that the “that the circumstances [regarding the application] here are sufficient to
      satisfy the three numbered factors listed in ICSID Arbitration Rule 37(2)”.35 To
      recall, these are the following:

         “Rule 37(2)

         (a) the non-disputing party submission would assist the Tribunal in the
         determination of a factual or legal issue related to the proceeding by bringing a
         perspective, particular knowledge or insight that is different from that of the
         disputing parties;

         (b) the non-disputing party submission would address a matter within the scope of
         the dispute;

         (c) the non-disputing party has a significant interest in the proceeding.”

      4.3.   Article 37(2) does not provide a legal basis for the contested undertaking
             on costs

38. ICSID Arbitration Rule 37(2) second sub-paragraph states that “The Tribunal shall
      ensure that the non-disputing party submission does not disrupt the proceeding or
      unduly burden or unfairly prejudice either party […]”

39. The Commission does not contest that the involvement of amicus curiae can
      increase the arbitration costs and can generate delays, and, in general, should not


34
     See in detail below
35
     Procedural Order No. 7.

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      overburden the process. The Commission is, in fact, mindful of the often extensive
      costs incurred in investor-State arbitration cases.

40. An arbitral tribunal may use procedural measures to reduce the costs and delays
      associated with handling amicus briefs. In line with arbitral practice and academic
      literature, such tools may involve: page limits, subject matter limits, temporal limits,
      and the tribunal may request potential amici to coordinate their efforts and submit a
      joint amicus curiae brief.36

41. In its Procedural Order No. 7, the Arbitral Tribunal set a strict deadline for the
      submission by the Commission of ten days after the transmission of the order, and a
      page limit of 25 pages maximum.

42. The temporal limit – the deadline of ten days – already significantly reduces the
      delay in the arbitration proceedings, limits the time and resources the amicus can
      spend preparing the brief, and thereby also limits the brief and arguments to which
      the disputing parties have to respond to. More importantly, thestrict time limit
      ensured that the procedural timetable agreed between the Arbitral Tribunal and the
      parties was not disrupted, and that the date of the hearing did not have to be
      changed.

43. The single submission direction and page limit imposed – 25 pages – has a similar
      effect. It reduces the amount of materials that the parties have to respond to and that
      the tribunal has to assess, which in turn leads to a minimization of the cost incurred
      by the parties through the non-disputing party, and equally keeps delays for the
      proceedings to a minimum. In addition, a page limit also has the indirect effect of
      limiting the subject matter that the amicus curiae can reasonably bring forward and
      in turn causes the amicus to narrow its submission to the most essential points it
      would like to make.

44. The further requirement for the contested undertaking on costs does not add
      anything of substance in this regard. The question of who pays the costs does not

36
     See Fernando Dias Simoes, “Friends with Benefits? Amicus Curiae in the TPP Investor-State Dispute
     Settlement Mechanism” in J Chaisse et al (eds), Paradigm Shift in International Economic Law Rule-
     Making (Springer 2017), p. 123 (Annex EC-18); Christina Knahr, “Transparency, Third Party
     Participation and Access to Documents in International Investment Arbitration” 23 (2007) Arbitration
     International, p. 327, 351-353 (Annex EC-19); Mariel Dimsey, ‘Article 4 Submission by a third
     person’ in D Euler, M Gehrig and M Scherer (eds), Transparency in International Investment
     Arbitration (Cambridge University Press), p. 19 (Annex EC-20).

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      have any impact on a possible disruption of the proceedings – that merely is a
      method to fit the amicus curiae brief into the pre-existing schedule and to organise
      how much potentially new material the parties have to digest.

45. The question of undue prejudice or unfair burden equally is not affected by the
      contested undertaking on costs. Indeed, which party has to bear the additional costs
      incurred by the amicus curiae submission is purely a question of the method of cost
      allocation adopted by the Arbitral Tribunal, i.e. “pay your own way” or “costs follow
      the event” (see above paragraph 13).

46. This view is also confirmed by the relevant academic writing. For instance, Thomas
      Ruthemeyer concludes in his PhD thesis on the institution of amicus curiae in
      international investment law: “It already seems questionable whether the arbitration
      rules provide for a legal basis, on which arbitral tribunals could base a decision
      requiring an amicus curiae [to pay the costs of the other parties …]”. Furthermore,
      even de lege ferenda, he recommends not to introduce such a legal basis into
      arbitration rules.37

47. In any event, even if in theory the contested undertaking on costs could
      exceptionally have been based on ICSID Arbitration Rule 37(2) second sub-
      paragraph, quod non, the Arbitral Tribunal should have reasoned why the temporal
      and page limit were not sufficient in ensuring that the Commission’s brief would not
      disrupt the proceedings or unduly burden or unfairly prejudice either party. There is
      no doubt that a tribunal has a large degree of discretion regarding the submission of
      amicus brief and setting the procedural limits for doing so. However, setting such a
      requirement in asking the amicus curiae, the Commission, to pay the additional
      costs incurred by the parties, the Arbitral Tribunal should have at the very least
      provided a reasoned justification.

      4.4.   The contested undertaking on costs goes against against the rules
             applicable in national legal systems and for international courts and
             tribunals

48. Precedent of Arbitral Tribunals, ordinary courts as well as other international courts
      and tribunals shows, that whilst the amicus should always cover its own costs, it


37
     Thomas Ruthemeyer, Der amicus curiae brief im Internationalen Investitionsschutzrecht, (Annex EC-
     21), pp. 295 and 296

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      does not bear the financial burden incurred by the parties. The rule that amici bear
      their own costs is key for keeping their independence within the proceedings.

49. In that context, the Commission first recalls that it did not seek to recover any of its
      own costs. It strongly believes, however, that it is unwarranted to ask that as a
      precondition for filing a Non-Disputing Party Submission, the Commission shall
      undertake to pay the additional costs reasonably incurred by the parties.

50. The Commission respectfully submits that it is aware of no precedent for assigning a
      non-disputing party an obligation to pay or reimburse the parties’ costs in the event
      of an amicus curiae brief submission.

51. On the contrary, there appears to be a generally accepted principle that in the light
      of the function and role of the amicus curiae (set out above under 4.2.), it is
      appropriate that the amicus curiae bears its own costs, but not those of the other
      parties. Any other view may, in fact, have an undue chilling effect on interventions
      by non-disputing parties and constitute a barrier to entry for non-disputing parties to
      participate in arbitration proceedings. This is particularly so where a public body
      and international institution, like the Commission, has been tasked wieht a specific
      public mandate (under Article 17(1) TEU), and seeks to defend this interest also
      before arbitral tribunals. The fact that the Working Paper to the currently-proposed
      amendments to the ICSID Arbitration Rules specifically expresses the need for a
      carve out for non-disputing parties with a public mandate only underlines this
      necessity.38

              4.4.1.     Precedent from Arbitral Tribunals

52. Arbitral tribunals under ICSID Arbitration Rules, such as the arbitral tribunals in
      Electrabel v Hungary, AES v Hungary, and Micula v Romania,39 as well as the Ad
      Hoc Committee in the last case,40 have not required from the Commission an
      undertaking on costs, such as the contested undertaking on costs, but applied the



38
     See Proposals for Amendment of the ICSID Rules – Working Paper, Volume 3, point 469.
39
     See ICSID Case No ARB/05/20, Micula v Romania, Award of 11 December 2013, ICSID Case No ARB/07/19
     Electrabel v Hungary, Decision on Jurisdiction, Applicable Law and Liability of 30 November 2012, and ICSID
     Case No ARB/07/22 AES v Hungary, Award of 23 September 2010.

40
     Ad hoc Committee's Decision on Annulment dated February 26, 2016.

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      general principle that the amicus curiae only covers its own costs. This position has
      been most recently confirmed by the arbitral tribunal in Vattenfall v Germany.41

53. ICSID Arbitration Rule 37(2) defines the conditions whereby the arbitral tribunal
      may allow a person or entity that is not a party to the dispute to file a written
      submission with the arbitral tribunal. There is no mention whatsoever of such a
      person bearing part of the costs of the arbitration, and hence there is no legal basis to
      require them to do so. Rule 28 of the ICSID Arbitration Rules provide that the costs
      of arbitration are borne by the parties, which the amicus curiae admitted on the basis
      of Rule 37 of the ICSID Arbitration Rules is not.

54. The approach taken by the Arbitral Tribunal (requirement of the contested
      undertaking on costs) constitutes a clear departure from consistent arbitral practice.

55. The Commission observes, with regard to other procedural rules and practices
      thereunder relevant for investor-State arbitration, that there are no rules on amicus
      curiae under UNCITRAL 1976 rules, and a fortiori no rules on costs. However, the
      arbitral tribunals in Methanex and United Parcel Services did not require a
      commitment on costs from the amicus curiae either, nor did the Suez arbitral
      tribunals. The most recent UNCITRAL Arbitration Rules (UNCITRAL Arbitration
      Rules with new Article 1(4) as adopted in 2013) incorporate the UNCITRAL
      Transparency Rules, which provide for rules on amicus curiae submissions that are
      very similar to ICSID Rule 37 (see Article 4 of the UNCITRAL Transparency
      Rules). In this regard, it is significant to note that Article 4(5) of the UNCITRAL
      Transparency Rules contains a similar provision as the ICSID rules on amicus
      interventions on the condition not to “disrupt or burden the proceedings” without
      however mentioning anything on costs, whereas Article 3(5) of the same
      Transparency Rules explicitly provides that non-disputing parties may have to bear
      some costs for accessing particular categories of documents. Based on an a
      contrario reasoning, this shows that amicus does have to bear its own costs, but not
      the costs that the parties have in relation to its intervention.

             4.4.2.    Precedent from ordinary jurisdictions

56. The Commission would underline that it seems that most (if not all) ordinary
      jurisdictions do not normally require amici curiae to bear the costs of the parties.


41
     ARB/12/12, Decision on the Achmea issue, of 31 August 2018, paragraphs 22 and 23.
                                                     16
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57. For instance, in preliminary ruling procedures before the Court of Justice of the
      European Union, the Commission always intervenes as an amicus curiae, bearing
      only its own costs. Similarly, in proceedings before national courts where the
      Commission intervenes as an amicus curiae under Article 15(3) of Regulation No
      1/2003 on the implementation of the competition rules laid down in Articles [101
      and 102 of the Treaty on the Functioning of the European Union]42 or Article 29 of
      Council Regulation (EU) 2015/1589 of 13 July 2015 laying down detailed rules for
      the application of Article 108 of the Treaty on the Functioning of the European
      Union,43 the practice of these courts and tribunals is not to order the Commission to
      bear other costs than its own.44

58. Furthermore, in England and Wales, the new Supreme Court rules45 provide:

         “Orders for costs will not normally be made either in favour of or against
         interveners but such orders may be made if the Court considers it just to do so (in
         particular if an intervener has in substance acted as the sole or principal
         appellant or respondent).”

59. Other jurisdictions, such as the Republic of Ireland, New Zealand, and France, do
      not seem to have laid down explicit statutory rules on the matter, but judges
      generally order the amicus curiae to bear its own costs only.46




42
     OJ L 1, 4.1.2003, p. 1 (Annex EC-22).
43
     OJ L 248, 24.9.2015, p. 9 (Annex EC-23).
44
     As can be seen on the Commission’s website, see for instance, with respect to amicus curiae
     interventions        under       Article        15(3)      of        Regulation No  1/2003
     http://ec.europa.eu/competition/court/antitrust_amicus_curiae.html .
45
     Rule 46(3), Supreme Court Rules 2009 (SI 2009/1603) (Annex EC-24). That provision appears to
     have been inspired by the 2006 decision of the House of Lords in R (Barker) v London Borough of
     Bromley (Annex EC-25). Similarly, in the recent JFS case (R (E) v The Governing Body of JFS and
     others [2009] EWCA Civ 626.) (Annex EC-26), the United Synagogue took on the running of the
     respondent's case with the agreement of the parties. In that case, it seems clear that the United
     Synagogue crossed the line from being an intervener in the public interest (if, indeed, it ever was), into
     standing in the shoes of the respondent. In such circumstances, assuming that NGO interveners are
     aware of the costs implications of acting as de facto parties, this seems a reasonable exception to the
     general rule that there should be no orders for costs against interveners.
46
     See for example for the Republic of Ireland: hvala v. Minister for Justice, Equality and Law Reform
     [2004] 1 ELRM 27 (Annex EC-27); for France: Cour d'appel d'Angers chambre sociale, Audience
     publique du mardi 18 décembre 2001, № de RG: 2000/01042 (Annex EC-28); and for New Zealand:
     Levy v Victoria (1997) 189 CLR 579, per Brennan CJ at 604. 10 (Annex EC-29)

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60. On the contrary, the more discussed and pertinent question, as highlighted by
      extensive US case law on the subject, is whether the costs of the amicus curiae,
      given the valuable service they provide, must be covered by the parties or by public
      funds.47

61. Costs are only ever awarded against the amicus curiae if it abuses its appearance or
      unnecessarily protracts the proceedings.48

62. The line set out here has also recently been recommended in a PhD dissertation.49

63. The relevance of precedent from ordinary courts and tribunals for this Ad Hoc
      Committee is twofold: first, the respondent is a Member State of the European
      Union, so that general principles of the legal order of the European Union and its
      Member States are relevant rules of law for deciding the dispute. Second, Article 38
      of the Statute of the International Court of Justice recognizes the general principles
      of law recognized by civilized nations, as well as judicial decisions of the various
      nations as sources of international law. That same consensus is also expressed in the
      ALI/UNIDROIT Principles of Transnational Civil Procedure, which also explicitly
      foresee the participation of amicus curiae and an award of costs only against the
      parties to the procedure, but not against the amicus curiae.50

              4.4.3.    Precedent from international courts and tribunals

64. The view taken by the Commission is furthermore supported by the practice of
      courts and tribunals established under public international law. For instance, in the




47
     Fifth Circuit: Schneider v. Lockheed Aircraft Corp., 658 F.2d 835, 854 (D.C. Cir. 1981) (Annex EC-
     30), cert, denied, 455 U.S. 994 (1982); Ninth Circuit: Miller-Wohl Co. v. Coiran'r of Labor & Indus.,
     State of Mont., 694 F.2d 203) (9th Cir. 1982) (Annex EC-31); Second Circuit: Wilder v. Bernstein,
     965 F.2d 1196, 1203 (2d Cir. 1992) (Annex EC-32)
48
     See for an example from Australia: Breen v Williams [1994] 35 NSWLR 522, per Kirby P at 533
     (Annex EC-33).
49
     See Séverine Menétrey, Ľ amicus curiae, vers un principe commun de droit procédural?, Dalloz,
     Nouvelle Bibliothèque de thèses, n° 97, 2010. That PhD dissertation tries to develop best practices for
     amicus curiae participation (including in the French legal system), and suggests in its concluding
     part:« L'amicus curiae, sauf si le tribunal en décide autrement, supporte les frais de sa participation.
     L'augmentation du coût de la procédure liée à sa participation est supportée par les parties au titre
     des frais du procès. » (Annex EC-34).
50
     See http://www.unidroit.org/english/principles/civilprocedure/ali-unidroitprinciples-e.pdf , principle
     13 (on amicus curiae participation) and principle 25 (on costs) (Annex EC-35)

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      World Trade Organization Panels and Appellate Bodies, the amicus curiae only
      bears its own costs.51

65. Similarly, the rules of procedure of international criminal courts stipulate that the
      amicus curiae only bears its own costs.52 Finally, the European Court of Human
      Rights, where amicus curiae interventions are frequent, does not have the power to
      order the amicus curiae to pay the costs that other parties incur as a consequence of
      the amicus curiae brief.53 The Inter-American Court of Human Rights also sees
      frequent amicus curiae interventions and does not order costs against the amicus
      curiae.54

66. Precedent from international courts and tribunals is of particular importance for
      investment arbitration, because the institute of amicus curiae in investment
      arbitration is inspired by precedent from international courts and tribunals.55

              4.4.4.     Conclusion

67. In conclusion, the position taken by the Arbitral Tribunal goes squarely against the
      practice and written rules that can be found in investment arbitration, national
      courts, and international economic, criminal, and human rights tribunals.

68. That shows, on the one hand, the fundamental nature of the rule and the seriousness
      of the departure from it.

69. On the other hand, it also shows that the Arbitration Tribunal could not have found a
      legal basis in international practice or a generally recognized principle.




51
     The practice at the WTO is that all parties, and all amicus curiae bear exclusively their own costs.
52
     See, for example, Article 7 of the Practice Direction for the Special Court for Sierra Leone (Annex
     EC-36), and Article 9 of the Practice Direction relating to Amicus Curiae Briefs presented before the
     Special Tribunal for Lebanon (Annex EC-37), and Article 103 of the Rules of Procedure of the
     International Criminal Court (Annex EC-38).
53
     See Rule 44 § 3 of the Rules of Court (which authorize the amicus curiae intervention) in conjunction
     with Practice Directions, Just Satisfaction Claims, III. 4 (which sets out the rules on costs), both
     available at http://www.echr.coe.int/Documents/Rules Court ENG;pdf (Annex EC-39).
54
     See Rule 44 of the Rules of Procedure of the Inter-American Court of Human Rights (Annex EC-40).

55
     ARB/03/19, Order of 19 May 2005 (Annex EC-6), paragraph 15, at the end.

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70. The Tribunal has never provided a reasoned justification for a divergent view, but
     has simply ignored the arguments put forward by the Commission, which are
     grounded in consistent national and international case law and rules of procedure.

71. At the very least, after the Commission’s contestation of this requirement, the
     Arbitral Tribunal should have engaged with this extensive body of precedent and
     rules. Without such a reasoned justification, the Tribunal has set a dangerous
     precedent, which could discourage valuable contributions made by amici curiae in
     the future. This therefore entails clear violations under Article 52(1)(d) and (e) of
     the ICSID Convention.

     4.5.   Considerations of judicial policy militate strongly against undertakings
            such as the contested undertaking on costs

72. The view taken by the Tribunal also constitutes a disservice to investor-State
     arbitration and its perceived lack of openness. Indeed, requiring amicus curiae to
     provide for undertakings such as the contested undertaking on costs will have a
     chilling effect on the participation of international organisations and non-
     governmental organisations in investor-State arbitration proceedings.

     4.6.   Conclusion

73. The fact that the Arbitration Tribunal has requested the commitment to pay costs,
     disregarded the amicus curiae submission of the Commission on that basis, and not
     provided any reasons for not following the view described by the Commission in its
     request to alter Procedural Order No. 7 constitutes both a violation of Article 52 (d)
     ICSID Convention and Article 52 (e) ICSID Convention. This, taken on its own, is
     sufficient to lead to the annulment of the contested award.


5.   IN THE ALTERNATIVE: HAD THE ARBITRAL TRIBUNAL HAD AT ITS DISPOSAL THE
     AMICUS CURIAE SUBMISSION OF THE COMMISSION, IT MAY HAVE REACHED A
     DIFFERENT CONCLUSION BOTH ON JURISDICTION AND ON MERITS

74. Should the Ad Hoc Committee take the view that in addition to demonstrating a
     serious deviation from ICSID Arbitration Rules 37(2), 28 and 47(1)(i), it is also
     necessary to demonstrate that the Arbitral Tribunal may have reached a different
     conclusion if it had had at its disposal the amicus curiae submission at the time of
     the adoption of the contested award, quod non, then the Commission considers that
     this condition is met as well.

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75. The serious departure from a procedural rule set out in section 4 above prevented
     the Commission from setting out its view on the matter of jurisdiction of the
     Arbitration Tribunal (5.1) and on the relevance of Union law in general and EU
     State aid law in particular to the Tribunal (5.2). For the reasons set out above at
     paragraphs 32 to 35, the Commission was particularly well placed to serve as
     amicus curiae on those points.

     5.1.   The Arbitral Tribunal has lacked the following elements on jurisdiction,
            which the Commission could have placed before it and which could have
            changed the outcome of the case

76. The Commission, first, recalls that there is an obligation for arbitration tribunals to
     assess their own jurisdiction ex officio. This means, in particular, that they are not
     limited by the arguments the parties put before them. As a consequence, the
     Arbitration Tribunal would have been obliged to assess any additional argument the
     Commission would have put before it in its amicus curiae brief, irrespective of
     whether Respondent would have incorporated that argument into its own pleadings.

77. The Commission has carefully read the contested Award. When assessing whether
     Article 26 Energy Charter Treaty constituted a valid offer for arbitration from
     Respondent to Applicant, the Arbitral Tribunal has in particular in paragraphs 179 to
     207 of the contested Award not at all or wrongly addressed the following
     arguments, on which the Commission could have brought before it in its amicus
     curiae submission additional relevant information:

            5.1.1.   Conflict with Article 19 TEU, Article 267 TFEU, the general
                     principle of mutual trust and the general principle of autonomy of the
                     EU legal order, to be solved on the basis of the general principle of
                     primacy of EU law.

78. The Arbitral Tribunal fails completely to engage with a possible conflict with those
     provisions.

79. The Court of Justice of the European Union, in its judgment in Achmea, held that
     “Articles 267 and 344 [… of the Treaty on Functioning of European Union] must be
     interpreted as precluding a provision in an international agreement concluded
     between Member States […] under which an investor from one of those Member
     States may, in the event of a dispute concerning investments in the other Member
     State, bring proceedings against the latter Member State before an arbitral tribunal


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      whose jurisdiction that Member State has undertaken to accept” (emphasis added by
      the Commission).

80. The Court of Justice of the European Union has hence confirmed the view taken by
      the Commission before the Court of Justice of the European Union. If it had been
      admitted as amicus curiae before the Arbitral Tribunal, the Commission would have
      submitted those same considerations to the Arbitral Tribunal. submission before the
      Tribunal.

81. As the Commission would have detailed in its amicus curiae submission before the
      Arbitral Tribunal, and as has been recognized by a number of Arbitral Tribunals,
      starting from the Tribunal in Electrabel v Hungary, Union law takes precedence
      over the Energy Charter Treaty in case of conflict, at the very least in intra-EU
                                                 56
      situations, such as the present case.           Primacy has been long-standing case-law of
      the Court of Justice since the landmark judgment in Costa/ENEL.57 It is now, since
      2009, also explicitly enshrined in Declaration 17 annexed to the Final Act of the
      Intergovernmental Conference which adopted the Treaty of Lisbon.58 EU law has
      primacy over not only domestic law (stricto sensu) of each Member State but also
      international treaties concluded between two Member States. That reasoning is
      based on the settled case-law of the Court of Justice, whereby “in matters governed
      by the EEC Treaty, that Treaty takes precedence over agreements concluded
      between Member States before its entry into force”.59 The Court of Justice specified
      that primacy also applies to international treaties that have been concluded between
      a Member State and another Member State, which acceded to the Union only after
      the conclusion of that agreement. In such a situation, EU law takes precedence as of

56
     ICSID Case No. ARB/07/19, Electrabel v Hungary, Award of 30 November 2012, paragraphs 4.178 to
     4.191. The Commission will refrain in this section from attaching any of the quoted documents as
     evidence, as the Ad hoc Committee is not in a position to rule in substance, but needs to assess
     whether, had such arguments and such proof been presented to the Arbitral Tribunal, the outcome of
     the contested Award could have been different. Should the Ad Hoc Committee wish to receive all
     those documents, the Commission will immediately send copies of those.
57
     Case 6/64, ECLI:EU:C:1964:66.
58
     Against this background, the findings of the Arbitral Tribunal in Vattenfall v Germany, Decision on
     the Achmea issue, paragraphs 224 to 226 that there was a lack of clarity and a substantial need for
     interpretation to derive the conflict rule of primacy is impossible to understand and accept.
59
     Judgment in Commission v Italy, 10/61, EU:C:1962:2, p. 1. See also judgment in Commission v
     Slovakia, C-264/09, EU:C:2011:580, paragraph 41; judgment in Commission v. Austria, C-147/03,
     EU:C:2005:427, paragraph 58; and judgment in Commission v Luxembourg, C-473/93,
     EU:C:1996:263, paragraph 40.

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      the day of accession.60 This view also finds very broad support in the academic
      literature on international law. Thomas Eilmansberger writes: ”the intentions of the
      parties are expressed in the most authoritative way by conflict rules included in the
      later treaty, [footnote omitted] and the EC Treaty (being the later Treaty in this
      case) does indeed contain such a conflict rule, namely the already mentioned Article
      307 EC“.61 Similarly, Martti Koskenniemi writes in his report for the International
      Law Commission on fragmentation: “The EC Treaty takes absolute precedence over
      agreements that Member States have concluded.”62

             5.1.2.    Relationship of the rules of interpretation in Article 31 VCLT – the
                       ordinary meaning of the terms does not enjoy superiority to the other
                       means of interpretation:

82. In paragraphs 182 and 207 of the contested Award, the Arbitral Tribunal gives
      decisive importance to the literal interpretation of the Energy Charter Treaty
      pursuant to Article 31(1) VCLT.

83. However, the travaux préparatoires of the VCLT show that there is no such
      hierarchy. This follows both from the Waldock Report VI, recital 4, and from the
      Commentary of the International Law Commission, recital 8. It suffices to quote
      here the latter, which rejects fears of hierarchisation expressed by governments as
      follows: “The Commission, by heading the article “General rule of interpretation”
      in the singular and by underlining the connexion between paragraphs 1 and 2 and
      again between paragraph 3 and the two previous paragraphs, intended to indicate
      that the application of the means of interpretation in the article would be a single
      combined operation. All the various elements, as they were present in any given
      case, would be thrown into the crucible, and their interaction would give the legally
      relevant interpretation.”




60
     Judgment in Budĕjovický Budvar, C-478/07, paragraphs 97 to 99; see also the earlier judgments in
     Conegate, 121/85, EU:C:1986:114, para. 25; Matteucci v Communauté française de Belgique, C-
     235/87, EU:C:1988:460, para. 22; and Exportur, C-3/91, EU:C:1992:420, para. 8.
61
     Thomas Eilmansberger, “Bilateral Investment Treaties and EU Law”, in: (2009) 46 Common Market
     Law Review, pp. 383-429, at page 421 and 425.
62
     “Fragmentation of international law. Report of the Study Group of the International Law
     Commission.”           Finalized    by        Martti       Koskenniemi. Available    at:
     http://legal.un.org/docs/?symbol=A/CN.4/L.682, paragraph 283.

                                                     23
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              5.1.3.    Transfer of competence for energy policy to the Union

84. The Arbitral Tribunal finds that Respondent failed to demonstrate that EU Member
      States have transferred competence for energy policy to the Union. It observes in
      addition that EU Member States still enjoy broad margins of discretion when
      implementing Union law on energy, and that other Contracting Parties had not been
      aware of that transfer (paragraph 200 of the contested Award).

85. The Energy Charter Treaty was from the outset a European project, rather than an
      intergovernmental project.63 The origins of the ECT can be traced back to a
      memorandum which the Dutch prime minister Ruud Lubbers presented in June 1990
      to the European Council of Dublin.64 The President of the Commission, Jacques
      Delors, further developed that idea in a speech on 21 November 1990 at the
      Conference for Security and Cooperation in Europe's (“CSCE”) Summit in Paris.
      That summit, which closed with the adoption of the "Charter of Paris for a New
      Europe”, had the purpose of laying the foundation for “a new era of democracy,
      peace and unity” (and led to the transformation of the CSCE into the Organisation
      for Security and Cooperation in Europe). The preamble of the ECT therefore refers
      to the Charter of Paris. Shortly thereafter, the European Council of Rome endorsed
      in December 1990 the proposals made by Lubbers and the Commission.65 In
      February 1991, the Commission presented a draft for that European Energy Charter,
      which would give life to the commitment of the Charter of Paris.66 Then, in 1991,
      the EU convened an international conference to negotiate and agree on such a
      charter, funded that conference and provided its secretariat. The final text of the
      European Energy Charter, which contains the broad political objectives, was
      adopted in December 1991 in The Hague. The special role of the EU is also

63
     Johann Basedow, “The European Union’s international investment policy Explaining intensifying
     Member State cooperation in international investment regulation”, PhD thesis, The London School of
     Economics and Political Science (LSE), 2014, page 156.
64
     At that time, shortly after the fall of the Berlin wall, the centrally-planned economies of the Union of
     Soviet Socialist Republics (and then Russia and the Commonwealth of Independent States) and the
     countries of Central and Eastern Europe started to reforms into market economies. They all were short
     of capital. Therefore, Lubbers' memorandum suggested the creation of a European Energy Community
     to capitalize on the complementary relationship between the EU, the USSR and the countries of
     Central and Eastern Europe. The idea was to secure investment flows from West to East, so that the
     energy flows from East to West would be secure.
65
     See Conclusions of the Presidency on the European Council in Rome.
66
     See Communication from the Commission on European Energy Charter, COM(91) 36 final of 14
     February 1991.

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      reflected in the recitals of the European Energy Charter itself. Those acknowledge
      furthermore the obligations of EU Member States under the EU Treaties (and other
      existing international agreements). The precise wording of those recitals is as
      follows:

         “Assured of support from the European Community, particularly through
         completion of its internal energy market;

         Aware of the obligations under major relevant multilateral agreements, of the
         wide range of international energy co-operation, and of the extensive activities by
         existing international organisations in the energy field and willing to take full
         advantage of the expertise of these organisations in furthering the objectives of
         the Charter”. (Emphasis added by the Commission.)

86. The reference to the internal energy market makes it clear that all signatory states,
      also the non-EU Member States, were fully aware that the EU was using its internal
      shared competence for energy, and had set up an autonomous regime. The reference
      to the obligations under other multilateral agreements obviously includes the
      obligations under Union law. Those two recitals, read together, make it hence
      abundantly clear that the European Energy Charter had no intention whatsoever to
      be applied within the internal energy market of the Union. The ECT has the
      objective of implementing the policy objectives set out in the European Energy
      Charter. Article 2 ECT expresses that as follows:

         “This Treaty establishes a legal framework in order to promote long-term
         cooperation in the energy field, based on complementarities and mutual benefits,
         in accordance with the objectives and principles of the [European Energy]
         Charter.”

87. It follows from that historical process, which ultimately led to the conclusion of the
      European Energy Charter (a policy document) and the ECT (the translation of that
      policy document into international law, as witnessed by the reference in the
      preamble and in Article 2 ECT to the European Energy Charter), that the objective
      of the ECT is to create an international framework for cooperation in the energy
      sector between the European Communities, on the one hand, and Russia, the CIS
      and the countries of Central and Eastern Europe, on the other hand.67 The ECT was




67
     Additionally, on the first conference held in Brussels on July 1991, the European Communities also
     invited the other members of the Organization for Economic Cooperation and Development (“OECD”)
     that were not EU Member States to participate in the negotiations on the Energy Charter.

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      perceived as part of the European Communities’ external energy policy.68 It was
      never intended that the ECT should influence their internal energy policy. Johann
      Basedow, whose excellent historical research on this point has not yet been taken
      into account by Arbitration Tribunals, explains this at length in this PhD thesis in
      the chapter on the historical origins of the ECT:

         “From the beginning, the Commission underlined that the ECT was conceived as
         the international relations component of the emerging Single Market for energy.
         The ECT should extend the Single Market for energy beyond the EU's borders.
         The underlying reasoning was that the Single Market for energy would only
         function efficiently and securely, fi the supply and transmission countries also
         embraced a market-based approach to the regulation of their energy sectors. The
         Commission clearly formulated this view in its communication accompanying the
         draft text for the European Energy Charter of spring 1992.

          [The European Energy Charter…] finds itself fully integrated within the energy
         policy which the Commission wishes to promote […] with a view to completing
         the internal energy market and providing an external relations policy to back it
         up.’”69

88. Indeed, the creation of the European Communities’ internal energy market was well
      under way when the ECT was negotiated: Energy has been included into the internal
      market from its outset. Indeed, one of the first and most prominent cases brought to
      the ECJ, Costa v E.N.E.L.70, concerned investments in energy. Special rules applied
      until 2002 for coal (European Coal and Steel Community, “ECSC”) and still apply
      for nuclear energy (European Atomic Energy Community, “EURATOM”). In 1985,
      the European Council in Milan endorsed the Commission’s proposal for creating a
      single market by 1992. In order to implement that commitment, the Council adopted
      Directives 90/547/EEC on the transit of electricity through transmission grids 71 and
      91/296/EEC on the transit of natural gas through grids72. In 1991, the Commission
      proposed more comprehensive rules liberalising the entire electricity and gas



68
     This point is also underlined in ICSID Case No. ARB/07/19, Electrabel v Hungary, Award of 30
     November 2012, at paragraph 4.132, quoting Thomas Wälde.
69
     Johann Basedow, “The European Union’s international investment policy Explaining intensifying
     Member State cooperation in international investment regulation”, PhD thesis, The London School of
     Economics and Political Science (LSE), 2014, page 160.
70
     ECJ, Judgment in Costa v E.N.E.L., 6/64, EU:C:1964:66.

71
     OJ L 313, 13.11.1990, p. 30.
72
     OJ L147, 12.6.1991, p. 37.

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      sector.73 Parliament and Council adopted the legislation in 1996 (electricity)74 and
      1998 (gas)75. Those initiatives are explicitly mentioned and recognized in the
      European Energy Charter and were known to all Contracting Parties of the ECT (see
      above). Those rules have been overhauled in 2003 and in 2009, when Parliament
      and Council agreed on the texts as they are on the books today. 76 The two main
      liberalisation directives have been complemented over time by an important number
      of other pieces of Union law, including on renewable energy, so that the Union has
      today a highly developed set of rules governing the internal market for electricity
      and gas.

89. As a result of those acts of Union law, the external competence for energy is with
      the Union. This does not exclude that Member States preserves internally a certain
      discretion as to how to implement Union acts in detail.

              5.1.4.     Lack of relevance of disconnection clause.

90. A further important point in the reasoning of the Arbitral Tribunal is the absence of
      a disconnection clause (paragraphs 186, 198 and 199 of the contested Award). That
      view, which is also widely echoed in academic literature, can be traced back to one
      single academic article by Christian Tietje77.

91. However, the view expressed by Christian Tietje in his often-referenced (and
      regrettably never questioned) article is not supported by the academic sources he


73
     OJ C 65, 14.3.1992, p.4 (for electricity) and p. 14 (for gas).
74
     Directive 96/92/EC of the European Parliament and of the Council of 19 December 1996 concerning
     common rules for the internal market in electricity, OJ L 27, 30.1.1997, p. 20.
75
     Directive 98/30/EC of the European Parliament and of the Council of 22 June 1998 concerning
     common rules for the internal market in natural gas, OJ L 204, 21.7.1998, p. 1.
76
     Third Energy Package, comprising: Directive 2009/72/EC of the European Parliament and of the
     Council of 13 July 2009 concerning common rules for the internal market in electricity, OJ L 211,
     14.8.2009, p. 55; Directive 2009/73/EC of the European Parliament and of the Council of 13 July 2009
     concerning common rules for the internal market in natural gas and repealing Directive 2003/55/EC,
     OJ L 211, 14.8.2009, p. 94; Regulation (EC) No 713/2009 of the European Parliament and of the
     Council of 13 July 2009 establishing an Agency for the Cooperation of Energy Regulators, OJ L 211
     14.8.2001, p. 1; Regulation (EC) 714/2009 of the European Parliament and of the Council of 13 July
     2009 on conditions for access to the network for cross-border exchanges in electricity and repealing
     Regulation (EC) No 1228/2003, OJ L 211, 14.8.2009, p. 15; and Regulation 715/2009 of the European
     Parliament and of the Council of 13 July 2009 on conditions for access to the natural gas transmission
     networks and repealing Regulation (EC) No 1775/2005, OJ L 211, 14.8.2009, p. 36.

77
     Christian Tietje, The Applicability of the Energy Charter Treaty in ICSID Arbitration of EU Nationals
     vs. EU Member States. Halle: Institute of Economic Law, 2008, pp. 7-16.

                                                           27
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      claims to rely on. In order to support the view that inter se obligations between
      Member States are the rule, and that an exception to that rule is only possible where
      the multilateral agreement contains a disconnection clause, he relies, first, on the
      article by Pieter Jan Kuijper.78 By selectively quoting Kuijper, Tietje distorts the
      view of Kuijper, which is, in fact, the opposite of that of Tietje; namely, that such
      inter se obligations are a theoretical possibility, but in practice never created. The
      paper by Maja Smrkolj79, quoted as second authority by Tietje, also does not provide
      any support for his view. To the contrary: As Smrkolj points out, a disconnection
      clause is only needed where the application of Union law (and not of the
      international treaty) between the Member States “affect[s] the enjoyment by other
      parties of their rights under the treaty or performance of their obligations"
      (emphasis added) or "relate[s] to a provision, derogation from which is
      incompatible with the effective execution of the object and purpose of the treaty as a
      whole.” In other words, a disconnection clause is only needed where the application
      of Union law between the Member States is not in line with Article 41(1)(b) VCLT.
      Where, on the contrary, as in the present case, the rights and obligations of third
      countries are not affected, “the insertion of the EU-specific 'disconnection clause'
      seems to be entirely superfluous”.80 Also, the last two sources on which Tietje relies
      are misquotes: Raphael Oen81 and Christoph Herrmann82 take the view that, even in
      the absence of a disconnection clause, a multilateral agreement may create inter se
      obligations only for those areas where Member States retain their external

78
     Pieter Jan Kuijper, “The Conclusion and Implementation of the Uruguay Round Results by the
     European Community”, (1995) 6 European Journal of International Law, issue 1, pp. 222-244, at p.
     228 and 229
79
     Maja Smrkolj, “The Use of the 'Disconnection Clause' in International Treaties: What does it tell us
     about the EC/EU as an Actor in the Sphere of Public International Law?”, paper presented at the
     GARNET Conference, “The EU in International Affairs”, Brussels, 24-26 April 2008.
80
     Ibidem, p. 9.
81
     Raphael Oen, Internationale Streitbeilegung im Kontext gemischter Verträge der Europäischen
     Gemeinschaft und ihrer Mitgliedstaaten, Berlin: Duncker and Humblot, 2005, S. 73: „Festgehalten
     wurde bisher nur, dass eine völkerrechtliche Bindung der Mitgliedstaaten zueinander jedenfalls in
     Bereichen ausschließlicher Gemeinschaftszuständigkeit ausscheide. Die Bindung komme nur für
     solche Bestimmungen in Betracht, die der (ausschließlichen oder konkurrierenden) mitgliedstaatlichen
     Zuständigkeit unterfielen“.
82
     Christoph Herrmann, „Rechtsprobleme der parallelen Mitgliedschaft von Völkerrechtssubjekten in
     Internationalen Organisationen – Eine Untersuchung am Beispiel der Mitgliedschaft der EG und ihrer
     Mitgliedstaaten in der WTO“, in: Gabriele Bauschke et al., Pluralität des Rechts – Regulierung im
     Spannungsfeld der Rechtsebenen, Boorberg: Stuttgart, 2003, pp. 139 and following, at p. 159: „Soweit
     die Kompetenzen auf die EG übertragen worden sind, kann ein gemischtes Abkommen zwischen den
     Mitgliedsstaaten wohl keine Verpflichtungen begründen“.

                                                       28
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      competence. However, the EU Member States did not retain their external
      competence for those areas, because the Union had acquired external competence
      for energy policy and commercial policy.

92. Furthermore, disconnection clauses have traditionally been used in international
      treaties where the Union could not become a Contracting Party itself due to the rules
      of the international organisation under whose auspices the international treaty was
      negotiated, in particular the Council of Europe. In such a setting, disconnection
      clauses may indeed be useful, as – despite those agreements being mixed
      agreements insofar as it concerns the question of competence – the Union does not
      appear in the text of the international treaty, and the disconnection clause serves as a
      “reminder” of its existence.

93. The situation is completely different in international treaties where the Union is a
      party, and which explicitly recognize its role as REIO, as is the case for the ECT in
      Article 1(3) and 1(10) thereof. Here, all Contracting Parties are fully aware of the
      specificities of the Union's legal order.

             5.1.5.    Conflict on substance with EU law

94. The Arbitral Tribunal, at paragraph 199 of the contested Award, claims that there is
      no conflict between the support scheme under scrutiny and EU law. That is wrong:
      Spain had implemented the support scheme in violation of Article 108(3) TFEU,
      because it had not sought prior State aid approval from the Commission. As a result,
      the measure on which Claimant relies is contrary to EU law (see in detail section 5.2
      below).

      5.2.   The Tribunal has lacked the following elements on Union law, and on
             particular on EU law on State aid, which the Commission could have
             placed before it and which could have changed the outcome of the case

95. The Tribunal finds in paragraphs 322 to 325 of the Award that “the Tribunal will
      decide the issues on the basis of the terms of the ECT and the applicable rules and
      principles of international law”. According to consistent arbitral precedent, in intra-
      EU disputes, Union law is part of the applicable law as “applicable rules and
      principles of international law”.83



83
     Ibidem, paragraphs 4.111 to 4.199. Confirmed many times since in subsequent awards.

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96. The Commission, in its amicus curiae submission, could have drawn the attention of
      the Tribunal to the fact that the Spanish support scheme at stake in the arbitration
      proceedings constitutes State aid pursuant to Article 107(1) TFEU, and that it had
      not been authorised by the Commission pursuant to Article 108(3) TFEU. As a
      result, under Union law, any legitimate expectations of the claimants were
      precluded, in line with long-standing case law of the Court of Justice of the
      European Union, which has held that, save in exceptional circumstances,
      undertakings to which an aid has been granted may not, in principle, entertain a
      legitimate expectation that the aid is lawful unless it has been granted in compliance
      with the procedure laid down in the Treaties.84 Any investor which had carried out a
      proper legal due diligence would have been told that no one can rely on
      representations or promises by a EU Member States to receive State aid which has
      not previously been approved by the Commission.

97. The Tribunal did not discuss those questions at all. Hence, it has manifestly
      exceeded its powers, by not applying a provision of international law that was part
      of the law to be applied by it. At the same time, it fails to state reasons.

98. In any event, legitimate expectations must be reasonable in light of the law
      applicable to the investment. In light of the consistent case law of the Court of
      Justice of the European Union this means that it would be unreasonable to consider
      that there is a legitimate expectation that aid be granted. A diligent economic
      operator must be assumed to be able to determine whether that procedure has been
      followed.85

99. The Tribunal not only failed to discuss those State aid obligations under Union law
      as a matter of law, but also in the alternative as part of the relevant facts.

100. The fact that the Arbitration Tribunal has failed to address that point in its Award
      constitutes both a violation of Article 52 (b) ICSID Convention and Article 52 (e)
      ICSID Convention.



84
     Case C-5/89 Commission v Germany ECLI:EU:C:1990:320, paragraph 14; Judgment of 11 November
     2004, Demesa et Territorio Histórico de Álava v Commission, C-183/02 P and C-187/02 P,
     EU:C:2004:701, paragraphs 44 and 45; Judgment of 9 June 2011, Diputación Foral de Vizcaya and
     Others v Commission, C-465/09 P to C-470/09 P, EU:C:2011:372, paragraph 150.
85
     Case C-5/89 Commission v Germany ECLI:EU:C:1990:320, paragraph 14.

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                                          ***

101. The Commission remains at the disposal of the Ad Hoc Commission for any
    question it may have.




    Steven NOË              Petra NEMECKOVA              Tim MAXIAN RUSCHE

                              Agents of the Commission




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                                Director-General




                                               Brussels, 26 October 2018
                                               sj.c(2018)6177842

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 Subject:        Your request concerning the position of the European Commission
                 regarding the EISER arbitral award rendered under the Energy
                 Charter Treaty

Dear Mrs. Attorney General,
In your letter of October 10, 2018, the State Attorney General of the Kingdom of Spain
requested the opinion of the services of the European Commission on the legal
consequences of an alleged enforcement of the arbitral award of May 4, 2017, rendered
within the framework of the International Centre for Settlement of Investment Disputes
(ICSID). This award orders the Kingdom of Spain to pay 128 million euros in
compensation for damages, plus interests, to Eiser Infrastructure Limited (EISER award).
This award is currently subject to an ICSID annulment proceeding. In addition, on October
3, 2018, the Spanish authorities have notified to the European Commission the payment of
the compensation provided for in the EISER award as State aid.
In your letter you raise three questions, to which we shall now reply:
    1) Is it necessary, in view of the notification of compensation as State aid, to wait for
       the Commission’s compatibility analysis? If so, would the Commission’s decision
       suffice to pay the compensation or would it be necessary to wait for the remedy
       period to expire or, even to wait for the possible finality of an ECJ judgement in this
       respect in the face of a challenge to the Commission’s Decision?
    2) If the claimant decides to enforce the award in a Member State, would the
       recognition and enforcement of the award be contrary to Union Law?
    3) What would be the consequences for Spain if the award were to be enforced without
       the Commission having ruled on the compatibility of the aid?


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The answer to the first part of the first question must be yes. Indeed, under Article 108(3)
of the Treaty on the Functioning of the European Union (TFEU), Member States cannot put
the State aid measures into effect without prior approval by the Commission of the State aid
in question as aid compatible with the internal market.
In reply to the second part of the first question, the services of the Commission state that the
Commission decisions benefit from a presumption of legality1 and, despite the existence of
an annulment remedy based on Article 263 TFEU, they have legal effects for their
recipients. Furthermore, under article 278 TFEU, actions brought before the Court of
Justice of the European Union shall not have suspensory effect.
In view of the foregoing, and in answer to your second and third questions, the payment of
compensation before the Commission rules on its compatibility would be contrary to Union
Law, in particular to Article 108(3) TFEU. It should also be recalled that the standstill
obligation laid down in Article 108(3) TFEU gives interested parties (e.g. the competitors of
the beneficiary) 2 individual rights that have direct effect. In this respect, these interested
parties, in particular competitors and other third parties affected by the unlawful State aid,
can enforce their rights by bringing an action before the competent national courts against
the Member State granting the aid. As a result, national courts have various measures to
protect these interested parties: they can prevent the payment of unlawful aid, recover
unlawful aid (irrespective of compatibility); recover interests for the period of illegality;
recover damages from competitors and other third parties; and order injunctive relief against
unlawful aid. 3
Furthermore, apart from the legal consequences of the standstill obligation related to the
execution of State aid under Article 108(3) TFEU, it should be recalled that the EISER
award, and hence its recognition and enforcement, would be contrary to Union Law in light
of the Achmea judgement. 4 The Commission set out its position on the consequences of the
Achmea judgment in its Communication to the European Parliament and the Council
“Protection of intra-EU investment” of July 19, 2018, 5 in the following paragraphs:
             “In the Achmea judgment the Court of Justice ruled that the investor-to-State
             arbitration clauses laid down in intra-EU BITs undermine the system of legal
             remedies provided for in the EU Treaties and thus jeopardise the autonomy,
             effectiveness, primacy and direct effect of Union law and the principle of mutual
             trust between the Member States. Recourse to such clauses undermines the
             preliminary ruling procedure provided for in Article 267 TFEU, and is not
             compatible with the principle of sincere cooperation. This implies that all
             investor-State arbitration clauses in intra-EU BITS are inapplicable and that any
             arbitration tribunal established on the basis of such clauses lacks jurisdiction due to
             the absence of a valid arbitration agreement. As a consequence, national courts are
             under the obligation to annul any arbitral award rendered on that basis and to
             refuse to enforce it. Member States that are parties to pending cases, in whatever

1
  See judgment of July 9, 2015, Commission/France, C-63/14, EU:C:2015:458, paragraph 44.
2
  Interested parties are any Member State and any person, undertaking or association of undertakings whose
interests might be affected by the granting of aid, in particular the beneficiary of the aid, competing
undertakings and trade associations (Article 1(h) of Council Regulation (EU) 2015/1589 of 13 July 2015
laying down detailed rules for the application of Article 108 of the Treaty on the Functioning of the European
Union (codified version), OJ L 248, 24.9.2015, p. 9-29).
3
  See Commission notice on the enforcement of State aid law by national courts, OJ C 85, 9.4.2009, p. 1–22.
4
  Judgment of March 6, 2018, Achmea, C-284/16, ECLI:EU:C:2018:158, paragraphs 56 and 58.
5
  COM(2018) 547 final.

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             capacity, must also draw all necessary consequences from the Achmea judgment.
             Moreover, pursuant to the principle of legal certainty, they are bound to formally
             terminate their intra-EU BITs.
             The Achmea judgment is also relevant for the investor-State arbitration
             mechanism established in Article 26 of the Energy Charter Treaty as regards intra-
             EU relations. This provision, if interpreted correctly, does not provide for an
             investor-State arbitration clause applicable between investors from a Member
             States of the EU and another Member States of the EU. Given the primacy of
             Union law, that clause, if interpreted as applying intra-EU, is incompatible with
             EU primary law and thus inapplicable. Indeed, the reasoning of the Court in
             Achmea applies equally to the intra-EU application of such a clause which, just
             like the clauses of intra-EU BITs, opens the possibility of submitting those
             disputes to a body which is not part of the judicial system of the EU. The fact that
             the EU is also a party to the Energy Charter Treaty does not affect this conclusion:
             the participation of the EU in that Treaty has only created rights and obligations
             between the EU and third countries and has not affected the relations between the
             EU Member States.”
The Legal Service of the Commission is at your disposal for any other assistance you may
require, for the sake of the principle of sincere cooperation provided for in Article 4(3)
TEU.
Sincerely yours,


                                                                [Illegible signature]
                                                               Luis Romero Requena




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             HARWOOD EXHIBIT 5
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                                                                     THE ICSID CONVENTION:
                                                                          a commentary
                                                                        A Commentary on the Convention on the Settlement of Investment
                                                                            Disputes between States and Nationals of Other States


                                                                                                             second edition


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                                                                                                            AUGUST REINISCH
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                                                                                                           Article 53 – Binding Force                                         1103

                                                                          The exclusive nature of the remedies provided by the Convention against awards                             19
                                                                       is related to the Convention’s general exclusive remedy rule in Art. 26. But the
                                                                       rule as reflected in Art. 26 applies only “unless otherwise stated” by the parties
                                                                       (see Art. 26, paras. 17–109). By contrast, Art. 53 is not open to modification by the
                                                                       parties (see also Art. 48, para. 3). Therefore, the parties may not agree on appeals
                                                                       procedures beyond those provided by the Convention.25 This does not affect the
                                                                       parties’ right to reach an agreed settlement which is at variance with the terms of
                                                                       the award.

                                                                       a) National Courts
                                                                          The self-contained and exhaustive nature of review procedures under the ICSID                              20
                                                                       Convention is one of the Convention’s distinctive features. It serves the interest
                                                                       of finality of awards and provides a clear advantage over other arbitration mech-
                                                                       anisms. Awards stemming from arbitration systems such as the ICC, the AAA or
                                                                       UNCITRAL are subject to potentially protracted and costly review procedures by
                                                                       the courts of the arbitration forum.26
                                                                          The ad hoc Committee in MINE v. Guinea expressed this effect of Art. 53 in                                 21
                                                                       the following terms:
                                                                                4.02 Article 53 of the Convention provides that the award shall be binding
                                                                             on the parties “and shall not be subject to any appeal or to any other remedy
                                                                             except those provided for in this Convention”. The post-award procedures (reme-
                                                                             dies) provided for in the Convention, namely, addition to, and correction of, the
                                                                             award (Art. 49), and interpretation (Art. 50), revision (Art. 51) and annulment
                                                                             (Art. 52) of the award are to be exercised within the framework of the Convention
                                                                             and in accordance with its provisions. It appears from these provisions that the
                                                                             Convention excludes any attack on the award in national courts. The award is
                                                                             final in that sense. It is also final in the sense that even within the framework of
                                                                             the Convention it is not subject to review on the merits. It is not final, on the other
                                                                             hand, in the sense that it is open to being completed or corrected, interpreted,
                                                                             “revised” or annulled.27
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                                                                          This independence from national procedures for review of arbitral awards means                             22
                                                                       that the place of arbitration in ICSID proceedings is irrelevant for the award’s
                                                                       validity and enforcement. ICSID arbitration is delocalized and independent of
                                                                       judicial control in the country where the proceedings take place and the award is
                                                                       rendered (see Art. 44, paras. 3, 21, 54). Consequently, a party to ICSID proceedings
                                                                       may not initiate action before a domestic court to seek the annulment or another


                                                                       25 Amerasinghe, C. F., Submissions to the Jurisdiction of the International Centre for Settlement
                                                                          of Investment Disputes, 5 Journal of Maritime Law and Commerce 211, 244/5 (1973/74).
                                                                       26 Berger, K. P., The Modern Trend Towards Exclusion of Recourse Against Transnational Arbitral
                                                                          Awards: A European Perspective, 12 Fordham International Law Journal 605 (1989); Delaume,
                                                                          G. R., Reflections on the Effectiveness of International Arbitral Awards, 12 Journal of Interna-
                                                                          tional Arbitration 5 (1995).
                                                                       27 MINE v. Guinea, Decision on Annulment, 22 December 1989, para. 4.02. Cf. also loc. cit.,
                                                                          paras. 4.04 and 5.08.




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                                                                          protection under Art. 27(1) and may lead to the submission of the dispute to
                                                                          the International Court of Justice in accordance with Art. 645 (see Art. 53,
                                                                          paras. 35–38; Art. 54, para. 115).
                                                                     8       Art. 55 may be seen as the Achilles’ heel of the Convention. The otherwise
                                                                          effective machinery of arbitration has its weak point when it comes to the actual
                                                                          execution against States of pecuniary obligations under awards. The self-contained
                                                                          nature of the procedure which excludes the intervention of domestic courts does
                                                                          not extend to the stage of execution.6 Arbitral tribunals do not have the power to
                                                                          order execution of their own awards. The Convention does not enjoin the courts of
                                                                          States parties to the Convention to enforce ICSID awards if this would be contrary
                                                                          to their law governing the immunity from execution of judgments and arbitral
                                                                          awards. Therefore, a State whose courts refuse execution of an ICSID award for
                                                                          reasons of State immunity is not in violation of Art. 54. This weakness of the
                                                                          enforcement procedure may make itself felt long before the stage of execution
                                                                          is reached. It may affect the bargaining position of the parties before or during
                                                                          the ICSID proceedings and may be reflected in a settlement between the parties
                                                                          (see Art. 48, paras. 69–87). It may also lead to a discount factor in an agreement
                                                                          concerning compliance with an award.7

                                                                                                             II. INTERPRETATION
                                                                          A. “Nothing in Article 54 shall be construed as derogating . . .”
                                                                     9       Art. 55 leaves the law on State immunity from execution intact. This was the
                                                                          result of a conscious decision in the Convention’s drafting. The inclusion of a
                                                                          waiver of immunity from execution would have been technically possible. But it
                                                                          was felt that the time was not ripe for such a drastic step. An attempt to include such
                                                                          a waiver would have run into the determined opposition of developing countries
                                                                          and would have jeopardized the wide ratification of the Convention.8
                                                                     10      During the Convention’s drafting, the concept of preserving immunity was
                                                                          barely questioned, although the idea that the Convention should provide for a
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                                                                          waiver of immunity from enforcement as a consequence of consent to jurisdiction
                                                                          was aired at one point (History, Vol. II, pp. 345, 575). Also, there was some
                                                                          dissatisfaction at the prospect of unequal treatment of awards depending on which
                                                                          country was chosen for their enforcement (at pp. 429, 671). But Mr. Broches

                                                                          5 See Delaume, G. R., Sovereign Immunity and Transnational Arbitration, 3 Arbitration Interna-
                                                                            tional 28, 43 (1987).
                                                                          6 Toope, S. J., Mixed International Arbitration. Studies in Arbitration Between States and Private
                                                                            Persons 246 et seq. (1990).
                                                                          7 See Schreuer, C., State Immunity: Some Recent Developments 125 (1988); Craig, W. L., The
                                                                            Final Chapter in the Pyramids Case: Discounting an ICSID Award for Annulment Risk, 8 ICSID
                                                                            Review – FILJ 264, 282 et seq. (1993).
                                                                          8 Broches, A., The Convention on the Settlement of Investment Disputes between States and
                                                                            Nationals of Other States, 136 Recueil des Cours 331, 403 (1972-II); Broches, Awards Rendered,
                                                                            pp. 333, 334.




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